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             EXHIBIT 5

                 Redacted for PII
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                                                                             Page 1

1                            UNITED STATES DISTRICT COURT

2                      FOR THE NORTHERN DISTRICT OF GEORGIA

3                                    ATLANTA DIVISION

4

5                         Civil Action No. 1:17-cv-02989-AT

6          ____________________________________________________

7          DONNA CURLING, et al.,

8                  Plaintiffs,

9          vs.

10         BRAD RAFFENSPERGER, et al.,

11                 Defendants.

12         ____________________________________________________

13

14                             VIDEOTAPED DEPOSITION OF

15                                    JIL RIDLEHOOVER

16

17                             Tuesday, August 16, 2022

18

19                                 Court Reporters:

20         LeShaundra Byrd (9:43 a.m. to 10:18 a.m.)

21         Felicia A. Newland, CSR (10:18 a.m. to 12:56 p.m.)

22




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1                                 A P P E A R A N C E S

2           On behalf of the Witness:

3                 STEPHEN DELK, ESQUIRE

4                 Hall Booth Smith, P.C.

5                 1564 King Road

6                 Tifton, Georgia 31793

7                 sdelk@hallboothsmith.com

8           On behalf of the Plaintiffs:

9                 DAVID D. CROSS, ESQUIRE

10                JENNA CONAWAY, ESQUIRE

11                Morrison & Foerster LLP

12                2100 L Street, Northwest, Suite 900

13                Washington, D.C. 20037

14                dcross@mofo.com

15                vascarrunz@mofo.com

16              On behalf of the Coalition for Good Governance:

17                RUSSELL T. ABNEY, Esquire (Via Zoom)

18                Watts Guerra, LLP

19                4 Dominion Drive

20                Building 3, Suite 100

21                San Antonio, Texas 78257

22                rabney@wattsguerra.com




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1                              A P P E A R A N C E S (Cont'd)

2            On behalf of the Defendants:

3                   JAVIER PICO PRATS, ESQUIRE

4                   Robbins Firm

5                   500 14th Street, NW

6                   Atlanta, Georgia 30318

7                   Jpicoprats@robbinsfirm.com

8            Also Present:           (Via Zoom)

9                   Donna Curling

10                  Adam Sparks

11                  Bryan Tyson

12                  Caroline Middleton

13                  Bruce Brown

14                  Ernestine Thomas-Clark

15                  Kevin Skoglund

16                  Marilyn Marks

17                  Oluwasegun Joseph

18                  Clint Lott

19           Videographer:           Scott Bridwell

20

21

22




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1                                     C O N T E N T S

2          EXAMINATION BY:                                                      PAGE

3                  Counsel for Plaintiffs                                             8

4                  Counsel for State of Georgia                                  178

5                          RIDLEHOOVER DEPOSITION EXHIBITS

6          NO.     DESCRIPTION                                                  PAGE

7          1       DouglasNow news article, Re:             Hampton &             66

8                  Ridlehoover resignation

9          2       Ridlehoover Subpoena                                           69

10         3       Jil screenshot at 5.19 of Video 2                              74

11         4       Dominion Voting Machine Flaws -- 2020                          78

12                 Election Coffee County, Georgia, Video 2

13                 screenshot

14         5       Screenshot 2 (sportcoat)                                       82

15         6       Screenshot of Scott Hall                                       83

16         7       Screenshot of Jennifer Jackson                                 86

17         8       Screenshot of Paul Maggio                                      91

18         9       Screenshot of Doug Logan                                       92

19         10      Screenshot of Greg Freemyer                                    93

20         11      Screenshot of Russ Ramsland                                    94

21         12      Screenshot of Jeffrey Lenberg                                  94

22         13      Screenshot 3                                                   95




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1          14     E-mail string, From:          Frances Watson to               103

2                 Pamela Jones, dated May 11, 2021

3          15     Election Database Memo re: Passwords                          106

4          16     Misty Hampton messages - Eric Chaney                          120

5          17     Text messages                                                 152

6          18     Texts Reveal GOP Mission to Breach                            162

7                 Voting Machine in Georgia - Daily Beast

8          *(Exhibits attached to transcript.)

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1

2                               P R O C E E D I N G S

3                                     * * * * * * *

4                        (Whereupon, the following proceedings on

5                        pages 6 through 46 were electronically

6                        recorded and stenographically transcribed

7                        by Felicia A. Newland, CSR.)

8                              VIDEOGRAPHER:       Good morning.           We're

9           going on the record at 9:43 a.m., Tuesday,

10          August 16, 2022.        Please note that the microphones

11          are sensitive and may pick up whispering, private

12          conversations, and cellular interference.

13                             Please turn off all cellphones and

14          place them away from the microphones as they can

15          interfere with deposition audio.

16                             Audio and video recording will

17          continue to take place unless all parties agree

18          to go off the record.

19                             This is Media Unit 1 of the

20          video-recording of Jil Ridlehoover, taken before

21          counsel for Plaintiff in the matter of Donna

22          Curling, et al. versus Brad Raffensperger, et




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1           al., filed in the United States District Court in

2           the Northern district of Georgia, Case Number

3           117-cv-0298918.

4                              This deposition is being held at

5           the Fairfield Inn & Suites by Marriott Douglas,

6           located at 1815 Peterson Avenue South, Douglas.

7                              My name is Scott Bridwell, from the

8           firm Veritext Legal Solutions.             I am the

9           videographer.       The court report is LeShaundra

10          Byrd, from the firm Veritext Legal Solutions.

11                             I am not authorized to administer

12          an oath, I am related to any party in this

13          action, nor am I financially interested in the

14          outcome.

15                             Counsel and all present in the

16          room, and everyone attending remotely, will now

17          state their appearance and affiliations for the

18          record.

19                             MR. CROSS:      David Cross, of Morrison

20          & Foerster, on behalf of the Curling Plaintiffs.

21          And with me is my colleague, Jenna Conaway.

22                             MR. LOTT:      Clint Lott on behalf of




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1           Jil Ridlehoover.

2                              MR. DELK:      Stephen Delk.

3                              COURT REPORTER:        Repeat again who you

4           are.    I can barely hear you.

5                              MR. LOTT:      Clint Lott on behalf of

6           Jil Ridlehoover.

7                              MR. DELK:      Stephen Delk on behalf of

8           Jil Ridlehoover.

9                              MR. PICO PRATS:        Javier Pico Prats,

10          from Robbins Alloy Belinfante Littlefield law firm,

11          on behalf of the State defendants.

12                             VIDEOGRAPHER:       Thank you.       We may --

13          with the court reporter -- Ms. Reporter, will you

14          please swear in the witness?

15                       (Witness duly sworn.)

16                             VIDEOGRAPHER:       Thank you.       We may

17          proceed.

18                                  * * * * * * * *

19          Whereupon,

20                                  JIL RIDLEHOOVER

21         was called as a witness and, having been first duly

22         sworn, was examined and testified as follows:




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1                     EXAMINATION BY COUNSEL FOR PLAINTIFFS

2            BY MR. CROSS:

3                      Q        Good morning, Ms. Ridlehoover.

4                      A        Good morning.

5                      Q        Thank you for being here.

6                               Have you been deposed before?

7                      A        No.

8                      Q        So let me just briefly kind of walk

9            through how this works.           I'm sure you already know

10           this from your counsel, but just so we're all kind

11           of on the same page.

12                              So I'm going to ask you questions

13           during the course of the day.             There will probably

14           be at least one other question or maybe two.                     You

15           have to answer the question as I put it to you

16           unless your counsel instructs you not to answer,

17           which should only be a privilege issue if it comes

18           up.

19                     A        Yes.

20                     Q        Do you understand that?

21                     A        Yes.

22                     Q        Okay.    If at any point I ask a




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1            question and you don't understand it, feel free to

2            just tell me that.

3                      A        Okay.

4                      Q        We'll figure it out together.

5                               If you need to take a break at any

6            point, that's absolutely fine, the only exception

7            is if there's a question pending, you need to

8            answer that question before the break.

9                      A        Okay.

10                     Q        Is there any reason you feel like you

11           can't testify truthfully and completely today?

12                     A        No.

13                     Q        Any medication or sickness or

14           anything that would affect your testimony?

15                     A        No.

16                     Q        All right.      Can you state your full

17           name for the record again, please?

18                     A        Jil H. Ridlehoover.

19                     Q        And what's your full name?

20                     A        Jil Henderson Riley.

21                              COURT REPORTER:         I'm sorry?

22                              MR. CROSS:      What?     I'm sorry, what's




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1            wrong?    LeShaundra, what's wrong?

2                               COURT REPORTER:         She said -- did you

3            say Handerson Riley?

4                               THE WITNESS:       Henderson.

5                               MR. CROSS:      Okay.

6            BY MR. CROSS:

7                      Q        I'm sorry.      Where do you live?

8                      A

9                      Q        How long have you lived there?

10                              COURT REPORTER:         Can we just stop for

11           a second?      I'm sorry.      Can we go off the record?            I

12           apologize.

13                              VIDEOGRAPHER:       We're going off the

14           record at 9:47.

15                         (Recess from 9:47 a.m. to 9:50 a.m.)

16                              VIDEOGRAPHER:       Okay.     We are on the

17           record again at 9:50.

18           BY MR. CROSS:

19                     Q        All right.      Let's just start over,

20           Ms. Ridlehoover.        You said your full name is Jil

21           Henderson Riley?

22                     A        Correct.




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                                                                       Page 12

1                      Q        Okay.     And so where do you live

2            again?

3                      A

4                      Q        Douglas, Georgia?

5                      A        Yes.

6                      Q        How long have you lived there?

7                      A        I have lived there 12 years.

8                      Q        And where did you live before that?

9                      A                                    .

10                     Q        Ambrose?

11                     A        Yes, Ambrose.       It's a smaller

12           community out just -- right outside Ambrose -- I

13           mean Douglas.

14                     Q        Have you always lived in Georgia?

15                     A        Yes.

16                     Q        Okay.     Did you graduate high school?

17                     A        Yes.

18                     Q        Did you go to any further formal

19           education after?

20                     A        No.     I got married after high school.

21                     Q        Okay.     Where do you currently work?

22                     A        Chaney Motors.




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1                      Q        And is that -- you work with Eric

2            Chaney there?

3                      A        Yes.

4                      Q        Okay.    Is he your boss?

5                      A        Yes.

6                      Q        How long have you worked at Chaney

7            Motors?

8                      A        Two years.

9                      Q        Since you left the Coffee County

10           Elections Office?

11                     A        Do what now?

12                     Q        Since you left the Coffee County

13           Elections Office?

14                     A        Correct.

15                     Q        Okay.    And what's your role at Chaney

16           Motors?

17                     A        I answer the phone.         I take payments.

18           Really -- don't really have a role.

19                     Q        Okay.    Well, are you a receptionist

20           or are you --

21                     A        Well, yeah, I guess you can call me

22           that, receptionist, secretary, yeah.




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1                      Q        And you say you take payments for

2            what?

3                      A        Car payments.

4                      Q        And is that -- do you do that online?

5            Do people come in person?           Or both?

6                      A        They'll do it on the phone, online,

7            credit card, or they'll come in person.

8                      Q        Is there anything else you do there?

9                      A        Just normal office/secretary stuff,

10           you know, straighten up.           You might have some, you

11           know, stuff to file.

12                     Q        Okay.    Is there anyone you work for

13           beyond Eric Chaney?

14                     A        Well, his -- technically his momma

15           and daddy, all them.

16                     Q        So before that, you were employed in

17           the Coffee County Elections Office?

18                     A        Correct.

19                     Q        And how long were you in that

20           position?

21                     A        I want to say five years, I think.               I

22           mean, five or six years.           Honestly, I can't




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                                                                       Page 15

1            remember.

2                       Q       Sure.

3                               When you started that job, was Misty

4            Hampton already employed?

5                       A       Yes.

6                       Q       Okay.    What were your

7            responsibilities in the Coffee County Election

8            Office?

9                       A       I registered people to vote.                If

10           there was a deceased, I took them out of the

11           register.      Changed the address.          Answer the phone.

12           Filed the precinct -- you know, precinct card, the

13           card you filled out to register to vote, I filed

14           those.     And advanced voting, that was on the other

15           side.     You know, say you came in to vote, you get

16           credit for voting.

17                      Q       Anything else?

18                      A       That's it.

19                      Q       And was that sort of your typical

20           role throughout the five or six years you lived

21           there?

22                      A       Yes.




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1                      Q        And one of the things I forgot to say

2            is make sure I finish a question before you answer,

3            and I'll let you answer, because if we talk over

4            each other --

5                      A        Okay.    I'm sorry.

6                      Q        -- it's hard for the court

7            reporter -- that's fine.

8                               Did you have an official title?

9                      A        Just assistant.

10                     Q        Okay.    Assistant to the --

11                     A        The election supervisor.

12                     Q        -- election supervisor?

13                     A        Yes.

14                     Q        Okay.    So you were --

15                     A        It --

16                     Q        You were --

17                              COURT REPORTER:        Again, please, one

18           at a time.

19                              Assistant to?       Just -- you were

20           talking over each other.

21           BY MR. CROSS:

22                     Q        Assistant to the election supervisor?




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1                      A        Correct.

2                      Q        And that was Ms. Hampton?

3                      A        Correct.

4                      Q        Okay.     And does she sometimes go by

5            Misty Martin?

6                      A        Yes.     She was married there for a

7            short time.

8                      Q        And were you employed before that?

9                               Before the Coffee County Elections

10           Office, did you have a job before that?

11                     A        No.     I just had a baby, and I was

12           staying at home, being a mom.

13                     Q        Okay.     In the Coffee County Election

14           Office during the day, was it typically just you

15           and Ms. Hampton?

16                     A        Yes.

17                     Q        And you were the only two employees

18           who physically worked in that office, right?

19                     A        Yes.

20                     Q        And do I understand it right, the way

21           the setup in the office is, is there's a door to

22           the parking lot.          It comes in sort of a foyer and




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1            there's a glass window and you sat behind that

2            window at a desk?

3                      A        Correct.

4                      Q        And so people came in and if they

5            needed help, it looks like there was a hole in that

6            window where they could talk to you?

7                      A        Correct.

8                      Q        And so you -- you are sort of the

9            first person they would see to get help with?

10                     A        Correct.

11                     Q        And then next to that window is a

12           door that came into the space where you sat?

13                     A        Correct.

14                     Q        And inside that space there was a

15           door to an office where Misty Hampton sat?

16                     A        Correct.

17                     Q        And there was a window in

18           Ms. Hampton's office?

19                     A        Correct.

20                     Q        And then there was a door from

21           Ms. Hampton's office into a room that you guys

22           called the GEMS room?




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1                      A        Correct.

2                      Q        And that's where the election

3            management server was?

4                      A        Correct.

5                      Q        And also the ICC and central scanner?

6                      A        Yes.

7                      Q        And that was the same setup under the

8            original GEM system manned under the Dominion

9            system, right?

10                     A        Yes.

11                     Q        And where were the BMDs stored in

12           your office that were part of the Dominion system?

13                     A        Okay.    Honestly I don't know the term

14           for all that, so you'll have to explain to me what

15           it looked like.

16                     Q        Okay.    So you understand that the

17           Dominion voting system used today, when voters

18           vote, they vote on a touchscreen computer?

19                     A        Right, the touchscreen.           Okay.

20                     Q        And have you heard of that called a

21           ballot marketing device, or "BMD"?

22                     A        Yes.    I called it a touchscreen.




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1                      Q        Okay.

2                               COURT REPORTER:        You called it what?

3                               THE WITNESS:       The touchscreen.

4            BY MR. CROSS:

5                      Q        Where were those stored in the

6            office?

7                      A        You had Misty's door, then you had

8            another door that stayed locked also.                And they

9            were back in to what we would call, like -- we

10           called it the vault.

11                     Q        Okay.    What else was in the vault?

12                     A        Supply baskets for, like, precincts,

13           like, their paperwork they had to have.                 Actually,

14           in the other locked vault, there was nothing in

15           there but that.        But there was another room that

16           had, like, supplies in it.

17                     Q        Okay.    So there was a room that you

18           called the vault and that's where the touchscreens

19           were?

20                     A        Correct.

21                     Q        And then there was another room that

22           had supplies?




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1                      A        Yes.    It was just, like, a little

2            open room that we put the -- the precinct baskets

3            in that we would -- I would fix, you know, for,

4            like, the people to come, like, it had pens,

5            markers, scissors, tape, stuff like that.

6                      Q        And then are you familiar with poll

7            pads that were used to check voters in?

8                      A        They were in there also.

9                      Q        When you say "there," was that --

10                     A        The vault.

11                     Q        The vault.      Okay.

12                              Were there memory cards that were

13           used with the voting machines?

14                     A        Locked in there also.

15                     Q        In the vault?

16                     A        Yes.

17                     Q        And there were flash drives that were

18           used with the systems sometimes, right, little jump

19           drives, thumb drives?

20                     A        I want to say it was like a card, if

21           I remember correctly.

22                     Q        The card is a memory card, almost




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1            looks like a credit card, right?

2                       A       No.     These --

3                       Q       Okay.

4                       A       -- were like -- I'm thinking of the

5            old system.      Honestly, I do not remember.

6                       Q       Okay.

7                       A       I didn't -- I didn't mess with

8            anybody.

9                       Q       So when it was time for an election,

10           who was responsible for taking the equipment out of

11           the vault and setting it up?

12                      A       The Dominion tech came and did all of

13           that.

14                      Q       In the building there was a door to

15           another room where early voting took place, right?

16                      A       Yes.

17                      Q       And when there was going to be an

18           election, you were going to do early voting, was it

19           a Dominion tech who would come in and set all that

20           equipment up in the early voting room?

21                      A       Yes.

22                      Q       So that wasn't Coffee County




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1            employees, you relied on Dominion for that?

2                      A        Yeah.     It was a Dominion guy.

3            Honestly, I don't remember his name.

4                      Q        And then some of that voting

5            equipment would go out to precincts, right?

6                      A        Yes.

7                      Q        And who was responsible for taking

8            that equipment out to a precinct?

9                      A        We had a lady at one time, she set --

10           she would come in and set up the precincts.                    She

11           would set them up herself.            And then people would

12           come and open the doors up and put their banners

13           out and . . .

14                     Q        So -- and I just want to walk through

15           a little bit.       So you've got an election coming up,

16           you've got to get all the equipment to the

17           individual precincts where people are going to

18           vote, right?

19                     A        Uh-huh.

20                     Q        Is that right?

21                     A        Yes.

22                     Q        Okay.




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1                      A        Sorry.

2                      Q        That's all right.         You have to give a

3            "yes" or a "no."

4                      A        Oh, I'm sorry.        Yes.

5                      Q        That's okay.

6                               And do I remember right, there are

7            six voting precincts in Coffee County.                Does that

8            sound right?

9                      A        Yes.

10                     Q        Okay.

11                     A        That's correct.

12                     Q        And so for that process you've to get

13           the touchscreens out of the vault.               Who would

14           handle that?

15                     A        The tech did it the last time.

16                     Q        And the last time for you would have

17           been the January 2021 runoff?

18                     A        Correct.

19                     Q        Because you left in February of 2021?

20                     A        Right.

21                     Q        So for that election, just taking

22           that election for a moment, the Dominion tech came




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1            in, went into the vault, pulled the MBD

2            touchscreens out.          Is that right?

3                      A        Correct.

4                      Q        And then who took those from your

5            office to the six precincts?

6                      A        Honestly the last time, I do not

7            remember who set them up.

8                      Q        What about the November 2020

9            election, who took them?

10                     A        I honestly don't remember if it was

11           Mandy or not.

12                     Q        And who is Mandy?

13                     A        Mandy Harper.       She is who the County

14           hired to set up the machines at all the precincts.

15                     Q        And what can you tell me about her?

16                     A        Nothing really.        I mean, her husband

17           is Rex.       I mean, that's all I know about her.

18                     Q        Rex?

19                     A        Yeah.

20                     Q        And they contracted with the County

21           to do the servers?

22                     A        She only did that one time.            And I




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1            want to say it was maybe the PPP.              I could be wrong

2            about that because she couldn't handle it.

3                      Q        And PPP is the presidential primary?

4                      A        Yes.

5                      Q        Okay.

6                      A        Yeah, presidential primary.

7                      Q        And that -- you're talking about the

8            one in 2020, in June?

9                      A        Yes.    I mean, like I said, I'm not --

10           I'm just -- I could not be accurate.                I'm not

11           accurate about that.          I'm just --

12                     Q        Okay.

13                     A        -- assuming it.        I mean . . .

14                     Q        When you say that Mandy couldn't

15           handle it, what -- what do you mean?

16                     A        I guess lifting all the machines

17           and -- because you had extra shifts.                You had the

18           touchscreen, you had the printer, and then you had

19           that big huge battery pack.

20                              COURT REPORTER:        He had the what?

21                              THE WITNESS:       Battery pack.

22




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1            BY MR. CROSS:

2                      Q        So she was -- she was brought in to

3            set this up for one election and it was just too

4            much for her --

5                      A        Correct.

6                      Q        -- correct?

7                               Okay.     Did you know how she

8            transported the machines from your office to the

9            precincts?

10                     A        The County had those big huge cargo

11           trailers, a cargo trailer built to put them in.

12                     Q        And she towed that behind a vehicle?

13                     A        No.     One of the County men did.          I

14           don't remember who.

15                     Q        So for the election that she handled,

16           she shows up.       And who -- who physically moved the

17           machines out of the vault into the trailer?

18                     A        She did.

19                     Q        And you guys had over a hundred

20           touchscreen machines, right?

21                     A        I honestly do not know.

22                     Q        And she moved all of those herself




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1            into the trailer?

2                      A        To my knowledge, yes.

3                      Q        Okay.    And then who drove the vehicle

4            with that trailer to the precinct?

5                      A        I do not remember.

6                      Q        Do you know -- was it your office

7            that hired her or was it the County Election Board

8            or who?

9                      A        I -- I don't know how she got hired.

10                     Q        Do you know whether, for example, a

11           background check was performed on her?

12                     A        I have no clue.

13                     Q        So she would leave with the machines

14           and take them off to the precincts?

15                     A        Correct.

16                     Q        And then is it your understanding

17           that she was the person who would physically set

18           them up at the precincts?

19                     A        Correct.

20                     Q        And was she also the person who

21           bought them back?

22                     A        Correct.




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1                      Q        Was she -- she carried all of those

2            into the vault?

3                      A        Correct.

4                      Q        And at some point you guys replaced

5            her with someone else?

6                      A        Yes.    But I honestly do not know who.

7                      Q        Was it a man or a woman?

8                      A        I do not remember.

9                      Q        You don't remember anything about the

10           person who replaced her?

11                     A        I do not.

12                     Q        The BMD touchscreens have -- are you

13           aware that they have seals on them?

14                     A        Yes.

15                     Q        And some of those seals are metal.

16           Is that right?

17                     A        You can get different types of seals.

18                     Q        That's metal or plastic?

19                     A        Uh-huh.

20                     Q        Yes?

21                     A        Yes.    Sorry.

22                     Q        That's okay.




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1                               Were the -- when the BMDs were in the

2            vault, were they stored inside of a container or

3            did they just sit inside the vault?

4                      A        They were in -- I honestly do not

5            remember if they were in those black cases or not.

6            I honestly do not remember.

7                      Q        So they may have been in some kind of

8            case, they may have not, you just don't remember?

9                      A        I'm pretty sure they were in a case,

10           I just keep going back to the old system because I

11           know they were the big huge things with legs and

12           they were chained altogether.

13                     Q        And by the old system, you mean the

14           old GEM SRE system?

15                     A        Yes.

16                     Q        And those -- those were chained

17           together.      But the touchscreens were not chained

18           together in the Dominion system?

19                     A        They were in -- I can't remember if

20           they were inside the things, but I know they had

21           the metal thing -- they're -- the little wire

22           thingy that hooked through and chained together.




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1                       Q       And that was on the BMDs too?

2                       A       Yes.

3                       Q       Okay.    When you guys were setting up

4            for an election, was there a process to check each

5            individual touchscreen to determine whether the

6            seals were all present?

7                       A       We -- I didn't do L&A at that point,

8            so I do not know.

9                       Q       By "L&A" you mean logic and accuracy

10           testing?

11                      A       Yes.

12                      Q       And so that's -- that's a little

13           something different from what I'm talking about.

14                              On the individual touchscreens, do

15           you recall that there were supposed to be seals on

16           the touchscreens themselves?

17                      A       Oh, yes.     There was, I bet you, 10,

18           12 seals on every one of them.

19                      Q       Okay.    And was there a process in the

20           office before you handed those off to be set up in

21           the precinct to check to make sure every seal was

22           on every device?




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1                      A        I did not do any of that.

2                      Q        Do you if anyone did that?

3                      A        I'm assuming Misty.

4                      Q        Why?

5                               And when -- I don't want you to

6            speculate or assume anything --

7                      A        Right.     I don't know.

8                      Q        That's fine.       Anything you don't

9            know --

10                     A        I don't know.

11                     Q        -- just say you don't.           Okay.

12                              So you never saw, for example, Misty

13           Hampton, or anyone else, inspect those machines,

14           check the seals before they went out.                Is that

15           fair?

16                     A        That's fair, yes.

17                     Q        Okay.    And then when the machines

18           came back, did you ever see anyone check the seals

19           before they went back into the vault?

20                     A        I did not.

21                     Q        Is it fair to say there wasn't a

22           policy or a practice that you're aware of in the




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1            office to do that?

2                      A        Not that I'm aware of.

3                      Q        Okay.    The Dominion system also uses

4            additional equipment, like a printer, for example,

5            right, that prints a ballot?

6                      A        Correct.

7                      Q        Was Mandy also responsible for taking

8            all the associated equipment, like the printers,

9            that would be used with the touchscreens?

10                     A        Correct.

11                     Q        So she took everything that had to be

12           set up in a precinct for voting, she took that?

13                     A        Correct.

14                     Q        Including scanners?

15                     A        The huge big black --

16                     Q        The scanners that would go out to the

17           precincts where the ballots would be scanned, she

18           would take that to the --

19                     A        Yes, the big huge -- I called it, it

20           looked like a trashcan.

21                     Q        It was a scanner that sat on top of a

22           bin and people sometimes called it trashcans?




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1                      A        Yes.     And it was locked.        There was a

2            big huge lid and it was locked.              And there was

3            probably at least 15 seals that went all the way

4            around it.

5                      Q        And similar to what we talked about

6            on the touchscreens, did you ever see anyone

7            inspect the seals on those bins either before they

8            went out or after they came back from voting?

9                      A        I personally did not.

10                     Q        You personally didn't do it, but you

11           also did not see anyone do it?

12                     A        Right.     That doesn't mean it wasn't

13           done.

14                     Q        Understood.      Understood.

15                              You and Ms. Hampton were the only two

16           who worked in the Elections Office, right?

17                     A        Correct.

18                     Q        So if it wasn't you, fair to say it

19           would have to be Ms. Hampton?

20                     A        Correct.

21                     Q        Ms. Ridlehoover, do I understand

22           right, you are represented by two lawyers today,




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1            Mr. Lott and Mr. Delk?

2                      A        Correct.

3                      Q        And are you aware that Mr. Delk also

4            represents your boss, Eric Chaney?

5                      A        Correct.

6                      Q        Are you aware that he also represents

7            Coffee County, your former employer?

8                      A        Correct.

9                      Q        And have you considered whether that

10           creates a conflict?

11                              MR. DELK:      Object to the form.          That

12           calls for a legal conclusion.

13                              COURT REPORTER:        Mr. Delk objected?

14                              MR. DELK:      Correct.     If there's any

15           objections, it'll be made by me today.

16           BY MR. CROSS:

17                     Q        Have you considered whether that

18           creates a conflict?

19                              MR. DELK:      You can answer if you

20           know.    If you don't know, you don't know.

21                              THE WITNESS:       I don't know.

22




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1            BY MR. CROSS:

2                      Q        You haven't thought about it.               Is

3            that fair?

4                      A        No.

5                      Q        Okay.    Did you interact with any

6            member of the Coffee County Election Board when you

7            were employed there?

8                      A        At board meetings.

9                      Q        And how often were there board

10           meetings?

11                     A        Just once a month.

12                     Q        Did those board meetings typically

13           take place in your office?

14                     A        Correct.

15                     Q        So the full board would come in, or

16           most of the board would come in, for a meeting,

17           meet in your office and -- and have whatever

18           discussion they had?

19                     A        Correct.

20                              MR. DELK:      Just so we're clear on the

21           question, all persons in the building, what her

22           space was?




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1                               MR. CROSS:      Yeah.

2                               MR. DELK:      But I know what you're

3            talking about, just so the record is accurate.

4                               MR. CROSS:      Right.

5            BY MR. CROSS:

6                      Q        And when they had their meetings, was

7            it in the physical room where your desk is at?

8                      A        Correct.

9                      Q        Did you typically attend all those

10           meetings?

11                     A        Correct.

12                     Q        Who else typically attended those

13           meetings?

14                     A        All of the Board.

15                     Q        And Ms. Hampton?

16                     A        Yes, correct.

17                     Q        Were those meetings typically open to

18           the public?

19                     A        Correct.

20                     Q        Did they sometimes go into what's

21           called executive session?

22                     A        Yes.




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1                       Q       And in executive session it would not

2            be open to the public?

3                       A       Correct.

4                       Q       Did you participate in meetings that

5            were in executive session?

6                       A       No, I did not.

7                       Q       Did Ms. Hampton?

8                       A       No, she did not.

9                       Q       So executive session, in your

10           experience, was only the members of the Board?

11                      A       Correct.

12                      Q       Did the meetings sometimes include

13           lawyers?

14                      A       Not that I recall.

15                      Q       Do you know Tony Rowell?

16                      A       Yes.

17                      Q       How do you know him?

18                      A       He was the county attorney.

19                      Q       Did he sometimes participate in the

20           meetings?

21                      A       Okay.    Yes, he -- not usually, but

22           occasionally if there was a question.




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1                      Q        You understand that Tony Rowell is at

2            the same firm as Mr. Delk?

3                      A        Yes, correct.

4                               COURT REPORTER:         I'm sorry, Counsel.

5            Can you repeat what you said?              You broke up on my

6            end.    I didn't hear your question at all.

7                               MR. CROSS:      Sure.

8            BY MR. CROSS:

9                      Q        You understand that Mr. Rowell was at

10           the same firm as Mr. Delk?

11                     A        Correct.

12                     Q        There were meeting minutes prepared

13           for each of these meetings typically, right?

14                     A        Correct.

15                     Q        Were there any meetings that you were

16           aware of where there were no minutes prepared?

17                     A        Not that I'm aware of.

18                     Q        In your time there, who was

19           responsible for taking notes for the minutes?

20                     A        Misty.

21                     Q        So did you also take notes to help?

22                     A        Sometimes, but she never -- she




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1            always did that.

2                      Q        So Ms. Hampton would take notes and

3            type them up as minutes?

4                      A        Correct.

5                      Q        Did you ever type up notes?

6                      A        Not that I remember.          I mean, if I

7            did, it might have been once where she was on

8            vacation, but I -- I honestly do not remember.

9                      Q        How were you paid by the County?

10           Were you salaried or hourly?

11                     A        Hourly.

12                     Q        Did you have set number of hours you

13           were expected to work each week?

14                     A        I was there from 8:30 to 5:00 every

15           day.

16                     Q        So about 40 hours a week?

17                     A        Correct.

18                     Q        And how did you track your -- your

19           time?

20                     A        I handwrote it in.

21                     Q        On what?

22                              COURT REPORTER:        Can you repeat your




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1            answer?

2                               THE WITNESS:       I wrote it down.          We

3            had a makeshift time sheet that said Monday,

4            Tuesday, Wednesday, Thursday, Friday.                And I wrote

5            my time on Monday, when I clocked out for lunch,

6            when I came back from lunch, when I left for the

7            day.

8            BY MR. CROSS:

9                      Q        And when you say "makeshift" --

10                     A        It was just a hand-typed one.               You

11           know, the -- like a template you get offline.

12                     Q        Okay.    So each morning you would come

13           into work, you had a hard-copy template that had

14           the dates of the week?

15                     A        Correct.

16                     Q        And you'd write the time you came in?

17                     A        Correct.

18                     Q        When you left for lunch, you'd write

19           that time?

20                     A        Correct.

21                     Q        You came back, you'd write that time?

22                     A        Correct.




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1                      Q        When you left the day, you'd write

2            that time?

3                      A        Correct.

4                      Q        And what did you -- what did you do

5            with the time sheet when you were done?

6                      A        I gave it to Misty.

7                      Q        And did you sign it or anything?

8                      A        Yes.

9                      Q        And was this a weekly thing?

10                     A        We got paid about every two weeks.

11                     Q        So did your time sheet cover two

12           weeks?

13                     A        Correct.

14                     Q        So you'd have a piece of paper just

15           sitting on your desk?

16                     A        Well, in a drawer.

17                     Q        So you have this piece of paper, for

18           two weeks you'd write down all your time.                 At the

19           end of the two weeks you would sign it?

20                     A        Correct.

21                     Q        And then you would give that to

22           Ms. Hampton?




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1                      A        Correct.

2                      Q        Do you know what she would with it?

3                      A        She got where she was scanning it --

4            or typing it in and e-mailing it.

5                      Q        So she would take what was on the

6            hard copy, type it into an e-mail and send that to

7            the Board?

8                      A        No.     Send that to a lady that did --

9            who did the payroll.

10                     Q        At the County?

11                     A        Yes.

12                     Q        Okay.     And did she include you on

13           those e-mails?

14                     A        No.

15                     Q        Do you know why the practice wasn't

16           just to send the hard copy on?

17                     A        It was she -- I guess she thought it

18           was easier to e-mail it instead of scanning it in

19           and taking the extra step.            I honestly do not know.

20           I can't answer that.

21                     Q        What would happen to the hard copy

22           once she would send the e-mail?




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1                      A        I have no clue.

2                      Q        So you guys didn't keep it in a file

3            for --

4                      A        I'm sure -- I can't answer for her.

5                      Q        Sure.

6                               You just hand it to her, she e-mailed

7            it off, and then from there, you don't know where?

8                      A        Correct.

9                      Q        And this was done every two weeks?

10                     A        Correct.

11                     Q        For the whole five or six years you

12           were there?

13                     A        Correct.

14                     Q        And do I understand right that

15           Ms. Hampton, she wasn't hourly, she was salaried?

16           Do you know?

17                     A        I'm not sure.

18                     Q        And what was your hourly rate, if you

19           don't mind me asking?

20                     A        Ten --

21                              MR. DELK:      I want to object to the

22           form.




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1                               But you can respond.

2                               THE WITNESS:       I honestly don't

3            remember.

4            BY MR. CROSS:

5                      Q        More or less than $10 an hour?

6                      A        I -- I would say around 10.            I

7            honestly do not remember exact.

8                      Q        And did you get overtime since you

9            were hourly?

10                     A        Yes.

11                     Q        So if you worked more than 40 hours

12           in a week, they would pay you overtime for those

13           hours?

14                     A        Correct.

15                     Q        And was that time and a half?

16                     A        I'm not sure.

17                     Q        So if you worked more than 40 hours,

18           would you get -- for those extra hours, would it be

19           your hourly rate plus 50 percent more or you don't

20           know?

21                     A        I don't know.

22                              COURT REPORTER:        Counsel, if we could




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1            go off the record.         I see there's another

2            stenographer on the screen.

3                               MR. CROSS:      Yeah, let's go off the

4            record.

5                               VIDEOGRAPHER:       Okay.     We're going to

6            go off the record at 10:17.

7                          (Recess from 10:17 a.m. to 10:18 a.m.)

8                          (Whereupon, the following proceedings on

9                          pages 46 through 181 were

10                         stenographically reported and transcribed

11                         by Felicia A. Newland, CSR.)

12                              VIDEOGRAPHER:       Okay.     We are on the

13           record at 10 -- hold on, my bad.               We are on the

14           record at 10:18.

15           BY MR. CROSS:

16                     Q        Ms. Ridlehoover, when you filled out

17           your time sheets, were you careful to capture the

18           time that you actually worked?

19                     A        Yes.

20                     Q        So the process we talked through

21           where you would write down the time that you left

22           or came in, whether for work or for lunch, you were




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1            meticulous about keeping that correct?

2                      A        Yes.

3                      Q        Did anyone suggest to you that --

4            that you should inflate your hours?

5                      A        No.

6                      Q        Did you at any point inflate your

7            hours?

8                      A        No.

9                      Q        You left the Coffee County Election

10           office in February of 2021.            Does that sound right?

11                     A        Correct.

12                     Q        More precisely, do you recall the

13           date was February 25th?

14                     A        I do not recall the date.

15                     Q        Okay.    But the spring of 2021.            Does

16           that sound right?

17                              Or maybe that's still winter, I don't

18           know.    First couple months of the year?

19                     A        I honestly don't know if it was

20           '20 or '21, because I have been at where I'm at

21           working now for two years.

22                     Q        Okay.




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1                       A       And it's only 2022.

2                       Q       You were -- you were still there for

3            the 2020 presidential election?

4                       A       Yes, correct.

5                       Q       Okay.    So you would have left after

6            that?

7                       A       Correct.

8                       Q       Okay.    And do you recall that you

9            were still there for the -- the January 2021 senate

10           runoff that got a lot of attention, Senator

11           Warnock?

12                      A       Yes.

13                      Q       Okay.    So you left sometime after

14           that?

15                      A       Yes.

16                      Q       But it was shortly after that?

17                      A       Yes.

18                      Q       Okay.    And when you left, do you

19           recall you participated in a meeting with the

20           Coffee County Election Board?

21                      A       Yes.

22                      Q       Describe for me what happened in that




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1            meeting, if you will.

2                      A        I -- I just came in and they said

3            that we had put more time than what we had had, and

4            I argued I did not and that was that.

5                      Q        Okay.    And you and Ms. Hampton both

6            met with the Board that day, right?

7                      A        Correct.

8                      Q        Did you meet together or separately

9            with the Board?

10                     A        Separately.

11                     Q        Did she go first?

12                     A        Yes.

13                     Q        When she came out of her meeting, did

14           you guys talk?

15                     A        No.

16                     Q        So she came out and left?

17                     A        Well, she came out and said, "We're

18           fired."       Then I went in.

19                     Q        Okay.

20                     A        I don't think that's talking.

21                     Q        No, that's -- that's fair.

22                              Did she tell you why she was fired?




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1                      A        No.

2                      Q        So then you went in, you walked into

3            the room.      Where was the meeting?

4                      A        It was in the courthouse in the

5            commissioners office.

6                      Q        Was the full Board there?

7                      A        I honestly do not remember.

8                      Q        But Eric Chaney was there?

9                      A        Yes.

10                     Q        Tony Rowell was there?

11                     A        Yes.

12                     Q        So you come in.        Did you sit down?

13                     A        Yes.

14                     Q        How long did it last about?

15                     A        I do not remember.

16                     Q        Would you say more than 15 minutes?

17                     A        I honestly can't say yes or no.             I

18           don't remember.

19                     Q        Do you think it was more than an

20           hour?

21                     A        No.

22                     Q        Okay.




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1                               MR. DELK:      I just want to assert a

2            standing objection on this.            I don't know if that

3            was an executive session or not.              Subject to that,

4            you can explore that.

5                               MR. CROSS:      Okay.

6                               That was Mr. Delk, Felicia.            I know

7            you're new to this.

8                               MR. DELK:      Oh, yeah, I'm sorry.         I

9            forgot we swamped out.          I'll be the only one

10           stating objections probably.

11           BY MR. CROSS:

12                     Q        So when you came in, you sat down.

13           What's the first thing that you recall they said to

14           you?

15                     A        I do not remember.

16                     Q        Okay.    But at some point they said to

17           you that they believed you had misrepresented time

18           sheets?

19                     A        Yes.

20                     Q        Okay.    And you said not true?

21                     A        Yes.

22                     Q        Did they tell you they had reviewed




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1            video surveillance that they had believed showed

2            you had misrepresented time sheets?

3                      A        Yes.

4                      Q        And what all can you tell me about

5            that?

6                      A        That's all I know.

7                      Q        Did they tell you where they got the

8            videos surveillance?

9                      A        No.

10                     Q        Did they tell you how many minutes or

11           hours they reviewed?

12                     A        No, not that I recall.

13                     Q        Okay.    Did they give you any details

14           on what they reviewed on the surveillance?

15                     A        No.

16                     Q        Okay.    Did they ask you to resign?

17                     A        No.

18                     Q        Okay.    Did you resign?

19                     A        Yes.

20                     Q        Why did you resign?

21                     A        I honestly do not remember.

22                     Q        Did they say they were going to fire




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1            you if you did not resign?

2                       A       I do not remember that.

3                       Q       Did they say if -- well, never mind.

4                               Did you get any retirement from the

5            County?

6                       A       I honestly don't know.

7                       Q       Do you -- do you receive any money --

8            any payments from the County since you left your

9            position there?

10                      A       No.

11                      Q       Okay.    Did they have a draft letter

12           of resignation for you to sign?

13                      A       Honestly that day was emotional, I

14           don't remember.

15                      Q       Do you recall signing a resignation

16           letter?

17                      A       I do not remember.         I mean, I'm sure

18           I did, but honestly, I do not remember that.

19                              MR. DELK:      I'm going to instruct her

20           again, if you don't recall, that's your answer, but

21           don't --

22                              THE WITNESS:       Okay.




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1                               MR. DELK:      -- don't guess or

2            speculate.

3            BY MR. CROSS:

4                       Q       Absolutely, don't guess or speculate,

5            only what you remember.           That's okay.       Take your

6            time.    You're doing fine.

7                               Just so I understand, you informed

8            them you had not been inaccurate in your time

9            sheets in any way, and at some point in that

10           meeting you resigned?

11                      A       Correct.

12                      Q       Okay.    So let's go back a little bit.

13           They said they looked at surveillance.                Was it

14           surveillance of your office, is that what they told

15           you?

16                      A       I don't know.       I mean, I don't -- I

17           don't --

18                              MR. DELK:      That's all, if you know,

19           you know --

20                              THE WITNESS:       I don't know --

21                              MR. DELK:      -- if you don't, you

22           don't.




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1                               THE WITNESS:       -- where they got it

2            from.

3            BY MR. CROSS:

4                      Q        Okay.    And just, again, if you don't

5            remember, that's fine too.

6                               Do you recall what they told you

7            about where they got surveillance videos?

8                      A        I do not recall.

9                      Q        Okay.    But they -- what they told you

10           was they looked at video surveillance that they

11           claim indicated you recorded time for when you were

12           not in the office.         Is that fair?

13                              Is that what they told you?

14                     A        I honestly don't remember.            I don't

15           remember what they told me.

16                     Q        Okay.    So let's go back to your

17           office.

18                              Were there cameras in that office, to

19           your knowledge?

20                     A        To my knowledge there was only one in

21           the corner of the break room.

22                     Q        Where is the break room?




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1                      A        You walk through where I sat and it

2            was through that other door, you know, right there.

3                      Q        Okay.    So once you're in your space,

4            you've got your desk that faces the window and that

5            window faces the door to the parking lot?

6                      A        Correct.

7                      Q        And so if I come through the door

8            from the foyer, your desk is on my right and Misty

9            Hampton's office is on the left?

10                     A        When you walk straight through that

11           door, you walk straight through me.

12                     Q        Okay.

13                     A        You would walk straight to me.

14                     Q        Okay.    And there's a break room at

15           some point in there?

16                     A        Yes.

17                     Q        And there's a door to the break room

18           or is it just open?

19                     A        Honestly I do not remember if there's

20           a door or not.

21                     Q        Okay.    And the break room, that was a

22           room where you and Ms. Hampton would take a break?




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1                      A        Yes.

2                      Q        Okay.    And is there table and chairs

3            in there?

4                      A        Yes.

5                      Q        And that the only camera that you

6            remember is in that room?

7                      A        Yes.    In there -- yes.

8                      Q        Do you recall any cameras that would

9            have captured the space where you sat?

10                     A        I have no knowledge of that.

11                     Q        Do you recall any cameras that would

12           have captured Ms. Hampton's office?

13                     A        I have no knowledge of that.

14                     Q        Do you recall any cameras that would

15           have captured the GEMS room?

16                     A        I have no knowledge of that.

17                     Q        Do you recall any cameras that would

18           have captured that foyer that sat outside your

19           office where people would come into the building?

20                     A        That, I'm assuming -- I'm guessing

21           that's -- that's where the camera was facing.

22                              MR. DELK:      Don't guess.




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1            BY MR. CROSS:

2                      Q        When you say -- okay.          Let's -- let's

3            just go back.

4                               When you say that's where the camera

5            was facing, what camera?

6                      A        There was -- I never saw any video

7            footage from the camera.

8                      Q        Uh-huh.

9                      A        I don't know what it showed.

10                     Q        So the only camera you ever saw with

11           your own eyes was in the break broom?

12                     A        Above the break room door.

13                     Q        Right, above the break room door.

14                              So what did that camera capture?

15                     A        I do not know.

16                     Q        But it wasn't in the break room, it

17           was outside the break room?

18                     A        Correct.

19                     Q        Facing away from the break room?

20                     A        Correct.

21                     Q        Okay.     Facing into what?

22                     A        I do not know.




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1                      Q        Okay.    Well, if you were going to

2            stand and look at that camera, where would you

3            stand?

4                               Where would you be, in your office or

5            what?

6                      A        I would say technically I was not in

7            an office, I was in an open room.

8                      Q        So did that -- did that camera, was

9            it pointed at that open room?

10                     A        I have no clue.        I didn't put it up.

11                     Q        Right.     But if you were just to look

12           at the camera, you could see the lens on the

13           camera, right?

14                              You could see the glass part of the

15           camera?

16                              MR. DELK:      If you know.       If you

17           don't, you can tell --

18                              THE WITNESS:       It was just a round

19           ball.

20           BY MR. CROSS:

21                     Q        It was just a round ball?

22                     A        A round ball.




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1                      Q        Okay.    I see.     What you're saying,

2            it's just a round glass ball --

3                      A        It's just a round ball.

4                      Q        -- that sat on the ceiling --

5                      A        It was just there in that corner,

6            just like that light.          I mean, it was just there.

7                      Q        I see what you're saying.

8                               Okay.    So there's a round -- I got

9            you.    I was picturing it more visual.

10                              So it's a round glass ball, there's a

11           camera inside.       And you don't know where the camera

12           is facing inside that ball?

13                     A        Correct.

14                     Q        I see.

15                              But that glass ball sat on the

16           ceiling outside the break room?

17                     A        Correct.

18                     Q        And so it sat on the ceiling in the

19           space where your desk was?

20                     A        Correct.

21                     Q        Okay.    Got it.      Thank you.      Sorry.

22                              And so when you met with the Board,




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1            they did not show you any video surveillance?

2                      A        No.

3                      Q        And the only camera that you're aware

4            of in that entire office is the one that you

5            described?

6                      A        I'm going to say there was one that

7            was on the advanced voting site.              There was on the

8            advanced voting site.

9                      Q        Got it.

10                              So in that room where the advanced

11           voting was set up, was there another one of those

12           glass ball -- ball cameras on the ceiling.                     Is that

13           what your remember?

14                     A        Yes.

15                     Q        Okay.     And in that main foyer where

16           people would come in to the window where you sat,

17           do you recall if there was anything that looked

18           like a camera in there?

19                     A        I do not remember.

20                     Q        Okay.     When you went to and from work

21           or to lunch, did you always go through that foyer?

22                     A        Yes.




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1                      Q        Was there another door into your

2            space other than that door that led to the front

3            door?

4                               There was a door that led to the

5            early voting room, right, from your space?

6                      A        It was down a long hallway.

7                      Q        But there was a door to get to your

8            space from the early voting room, right?

9                      A        Correct.

10                     Q        And the early voting room had its own

11           exterior door to the parking lot, right?

12                     A        Correct.

13                     Q        Okay.    Did you ever speak with anyone

14           on the Board about your departure from the Coffee

15           County Election Office other than in that meeting?

16                     A        I do not recall.

17                     Q        Okay.    Eric Chaney hired you at his

18           dealership shorty after --

19                     A        Correct.

20                              MR. DELK:      Let him -- make sure you

21           let him finish --

22                              THE WITNESS:       Okay.




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1                               MR. DELK:      -- his question.        You're

2            fine.

3            BY MR. CROSS:

4                      Q        Do you remember approximately how

5            long after you left the Coffee County Election

6            Office you started working for Mr. Chaney?

7                               Was it days or weeks?

8                      A        Maybe two weeks.

9                      Q        Okay.    And did he contact you or you

10           contacted him?

11                     A        He contacted me.

12                     Q        Called you?

13                     A        Yes.

14                     Q        Okay.    And he said, "I'd like to hire

15           you at the dealership"?

16                     A        I don't remember exactly what was

17           said.

18                     Q        But he offered you a job?

19                     A        Correct.

20                     Q        And you took the job?

21                     A        Correct.

22                     Q        Okay.    And you've been working with




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1            him ever since?

2                      A        Correct.

3                      Q        Do you recall if at any point in time

4            that you've been working with him discussing your

5            departure from the County office?

6                      A        Never discussed it, not I recall.

7                      Q        Is it fair to say that in hiring you,

8            he didn't express any concerns to you about your

9            reliability or your honesty?

10                     A        No.

11                              MR. DELK:      Object to the form.

12                              THE WITNESS:       Oh, no.

13           BY MR. CROSS:

14                     Q        Did you ever consider whether the

15           Coffee County Election Board forced you out of the

16           office for reasons other than the reason they gave?

17                              MR. DELK:      Object to the form.

18           BY MR. CROSS:

19                     Q        Just yes or no; have you thought

20           about that?

21                     A        No.

22                     Q        In the time that you were in the




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1            Coffee Election Office, from time to time would

2            there be people in that office other than yourself

3            and Ms. Hampton?

4                      A        I'm not really understanding what you

5            mean.

6                      Q        Sure.

7                               So did you ever see anybody come into

8            the Coffee County Election Office, not just in that

9            foyer, but back in your space where you worked, who

10           was not yourself, Ms. Hampton or a member of the

11           Board or counsel for the Board, anyone else?

12                              MR. DELK:      Just in a general sense

13           ever?

14                              MR. CROSS:      Ever.

15                              THE WITNESS:       Yes.

16           BY MR. CROSS:

17                     Q        Okay.    And, for example, did you

18           ever -- do you know Ed Voyles?

19                     A        Yes.

20                     Q        Did he ever come inside the office

21           into your space?

22                     A        Yes.    Him and Misty went in her




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1            office.       Like, she would call people into her

2            office for a meeting or whatever.

3                      Q        Okay.

4                           (Discussion had off the record.)

5                               VIDEOGRAPHER:       We are going off the

6            record at 10:34 a.m.

7                           (Recess from 10:34 a.m. to 10:44 a.m.)

8                               VIDEOGRAPHER:       We are back on the

9            record at 10:44.

10           BY MR. CROSS:

11                     Q        All right.      Ms. Ridlehoover, let me

12           hand you what I'm going to mark as Exhibit 1.

13                          (Ridlehoover Deposition Exhibit Number 1

14                          marked for identification.)

15           BY MR. CROSS:

16                     Q        So this is a -- a local news article

17           entitled, "Board of Elections accepts employee

18           resignations, election office temporarily closed."

19                              Do you see that on the top of the

20           page?

21                     A        Yes.

22                     Q        And it looks to be from March 3rd,




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1            2021, from Robert Preston.            Do you see that?

2                      A        Yes.

3                      Q        Do you know Robert Preston?

4                      A        Yes.

5                      Q        How do you know him?

6                      A        He runs DoulgasNow.

7                      Q        Okay.    Has he ever been in the Coffee

8            County Election Office?

9                      A        Yes.

10                     Q        And you've been there with him in the

11           office?       You've seen him in the office?

12                     A        Yes.

13                     Q        Okay.    And if you flip to the

14           article, it begins by pointing out that on February

15           25th, 2021, two employees of Coffee County

16           Elections Office, Misty Hampton and Jil

17           Ridlehoover, resigned.

18                              Do you see that?

19                     A        Yes.

20                     Q        Does that help refresh your memory

21           that you resigned on February 25th of 2021?

22                     A        I'm reading it.




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1                       Q       Okay.    But do you have any reason to

2            think that's wrong?

3                               MR. DELK:      Object to the form.

4                               You can answer.

5                               THE WITNESS:       No.

6            BY MR. CROSS:

7                       Q       Okay.    And then if you come down the

8            fourth paragraph, do you see it begins with your

9            name?    It says, "Ridlehoover's letter states," the

10           fourth paragraph.

11                      A       I'm trying to get my eyes focused --

12                      Q       Okay.

13                      A       -- just a second, I don't have my

14           glasses.

15                              Yes, I see that.

16                      Q       Okay.    And it says, "Ridlehoover's

17           letter states that, quote, the County contends that

18           I submitted time sheets for time worked, and was

19           thereafter paid, when in fact I did not work all

20           the hours I submitted for payment."

21                              Do you see that?

22                      A       Yes.




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1                      Q        Why did you sign a letter indicating

2            that you had submitted time sheets for hours for

3            which you were paid, but did not work?

4                      A        Well, on advice of counsel, I

5            respectfully decline to answer on the basis of my

6            rights and privileges under Article 1, Section 1,

7            Paragraph 16 of the Georgia Constitution and the

8            Fifth Amendment of the United States Constitution

9            and Georgia law.

10                              MR. DELK:      Can we get the same

11           stipulation that we've been having --

12                              MR. CROSS:      Yes.

13                              MR. DELK:      -- if that issue does come

14           up again?

15                              MR. CROSS:      Yeah.     All she has to say

16           is "Fifth Amendment" and it'll capture the

17           statement.

18           BY MR. CROSS:

19                     Q        Let me hand you what's been marked as

20           Exhibit 2.

21                         (Ridlehoover Deposition Exhibit Number 2

22                         marked for identification.)




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1            BY MR. CROSS:

2                      Q        And just tell me if this is something

3            that you've seen before.

4                      A        Yes.

5                      Q        And if you flip through it, you'll

6            see this is a subpoena that you received to produce

7            documents in this case, right?

8                      A        Correct.

9                      Q        Would you turn to the page at the top

10           that says Attachment A?           Do you see that?

11                              Have you read that before?

12                     A        Yes.

13                     Q        And just walk me through what you

14           did, if anything, to look for documents responsive

15           to these requests?

16                     A        I had none.

17                     Q        And how did you look for them?

18                              MR. DELK:      And I'll instruct you not

19           to say anything that we've discussed in any meeting

20           with counsel, but he's just talking about actions

21           outside of any meeting or correspondence with us.

22




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1            BY MR. CROSS:

2                      Q        Just describe your actions.

3                      A        Well, honestly, I knew I had nothing.

4                      Q        So do you use a smartphone?

5                      A        I do.

6                      Q        How long have you had that phone?

7                      A        I use mine until they don't work no

8            more.

9                      Q        Is it the same phone you had when you

10           were in the Elections Office?

11                     A        Yes.

12                     Q        Okay.    When you received the document

13           subpoena, did you, for example, pick up your phone

14           and run searches for, like, Misty Hampton's name?

15                     A        No, I did not.

16                     Q        Did you search for Eric Chaney?

17                     A        No, I did not.

18                     Q        Okay.    Did you -- did you grab your

19           phone and do any kind of searches in your text

20           messages or e-mails?          Photos?     Videos?     Anything?

21                     A        I knew I didn't have any.

22                     Q        But you didn't actually look?




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1                      A        No.

2                      Q        Okay.     Did you from time to time send

3            text messages when you were in the Elections Office

4            with Ms. Hampton?

5                      A        Yes.

6                      Q        Did you from time to time send text

7            messages with Eric Chaney?

8                      A        No.     I'm -- well, board meetings,

9            "Don't forget board meetings."

10                     Q        Okay.     Did you from time to time send

11           text messages when you were in the Elections Office

12           with other members of the Board?

13                     A        Only, "Don't forget the board

14           meeting."

15                     Q        Did you from time to time send

16           e-mails using your personal device related to the

17           Coffee County Elections Office?

18                     A        No.

19                     Q        Did you ever make any photos or

20           videos inside the office?

21                     A        No.

22                     Q        Did anyone ever send you any photos




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1            or videos related to the Coffee County Elections

2            Office?

3                      A        Not that I recall.

4                      Q        Did you ever text anyone besides

5            Ms. Hampton related to the Coffee County Election

6            Office or Coffee County Elections?

7                      A        No.

8                      Q        Do you recall that in December of

9            2020, Ms. Hampton and Eric Chaney and some others

10           recorded a video in the Coffee County Election

11           Office showing how the adjudication process worked

12           on the Dominion system?

13                     A        Yes.

14                     Q        And you were there for that?

15                     A        Yes.

16                     Q        And the video was recorded in the

17           GEMS room?

18                     A        I was at my desk, I do not know.

19                     Q        Okay.    But the -- the adjudication

20           process with the Dominion system, you understand

21           that happens in the GEMS room?

22                     A        Yes.




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1                      Q        And that -- this day -- that day, in

2            December 2020, you saw Ms. Hampton, Mr. Chaney, and

3            others, in the GEMS room filming that video.                   Is

4            that fair?

5                               MR. DELK:      Object to the form.

6                               THE WITNESS:       They were in the room.

7            I do not know what they were doing.

8            BY MR. CROSS:

9                      Q        They were in the GEMS room?

10                     A        Yes.

11                     Q        But at some point that video became

12           public on YouTube?

13                     A        I've never watched it.

14                     Q        But you're aware of it?

15                     A        Yes.

16                     Q        Are you aware that you are in that

17           video?

18                     A        No, I'm not.

19                         (Ridlehoover Deposition Exhibit Number 3

20                         marked for identification.)

21           BY MR. CROSS:

22                     Q        So, Ms. Ridlehoover, what I've handed




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1            you is a screenshot from that YouTube video that we

2            took offline.       And if you look at it, there's -- do

3            you see the two men?

4                      A        Uh-huh.

5                      Q        Yes?

6                      A        Yes.

7                      Q        So there's a man in a blue shirt,

8            right?

9                      A        Yes.

10                     Q        There's a man behind him that looks

11           like maybe in a Navy sports coat?

12                     A        Yes.

13                     Q        There's a man next to him in khaki

14           pants?

15                     A        Yes.

16                     Q        And then the woman in the back in the

17           pink, that's you?

18                     A        Yes.

19                     Q        Okay.

20                     A        Like I said, I was unaware I was in

21           the picture.

22                     Q        Okay.     That's fine.      Now you know




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1            you're famous.

2                               The man in the blue shirt, do you

3            remember who that was?

4                       A       I do not.

5                       Q       What about the man behind him in the

6            blue jacket?

7                       A       Honestly, I cannot see who it is.             If

8            I had my glasses.

9                       Q       Do you have glasses in your car?

10                      A       I do not.      They're at the office.

11                              MR. CROSS:      Does anybody have reading

12           glasses?       Are those reading glasses?           Let's just

13           try them.       See if that helps.

14                              VIDEOGRAPHER:       I only have

15           prescription in my right eye so it may work.

16                              THE WITNESS:       Oh, snap, look there.

17           You might not get these back.

18                              VIDEOGRAPHER:       Oh, yes, I will.

19           Those are Walmart brand.

20           BY MR. CROSS:

21                      Q       Do you recognize the man in the blue

22           jacket?




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1                       A       It -- with all that facial hair?

2                       Q       Yes.    You're seeing it real clear

3            now.

4                       A       It kind of looks like Mr. Ed Voyles,

5            but honestly I do not remember him with a beard.

6                       Q       Okay.    The guy in the khaki pants and

7            the -- it looks like maybe a white button-down --

8                       A       I have no clue.

9                       Q       Okay.    All right.       That's fine.

10                              THE WITNESS:       These are yours.

11                              VIDEOGRAPHER:       Why don't you hold on

12           to them.

13           BY MR. CROSS:

14                      Q       Do you recall learning at some point

15           that visible in that same video was a Post-it note

16           on Misty Hampton's computer monitor where it was

17           identified as a password?

18                      A       Do what now?

19                      Q       Do you remember learning at some

20           point about this video -- you knew this video was

21           online?

22                      A       Yes.




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1                      Q        Okay.    Did you -- did you ever hear

2            that there was a Post-it note visible in that video

3            online that had what looked like a password written

4            on it?

5                      A        Yes.

6                      Q        Okay.    And did you learn that that

7            Post-it note was visible on Misty Hampton's

8            computer monitor?

9                      A        Do what now?

10                     Q        Did you learn that that Post-it note

11           was visible on Misty Hampton's computer monitor?

12                     A        Personally, no, I did not realize.

13           No.

14                     Q        Okay.    Do those work okay?

15                     A        That's fine.       I haven't tried them.

16           Yeah.

17                     Q        Okay.

18                         (Ridlehoover Deposition Exhibit Number 4

19                         marked for identification.)

20           BY MR. CROSS:

21                     Q        All right.      Let me hand you what's

22           been marked as Exhibit 4.           So this is a -- this is




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1            another screenshot from that video that we took.

2                      A        Uh-huh.     Yes.

3                      Q        Do you recognize having seen this

4            Post-it note on Ms. Hampton's computer in her

5            office?

6                      A        I do not.

7                      Q        Was it on Ms. -- well, let's back up.

8                               Do you recall seeing a Post-it note

9            like this on any computer screen in the office?

10                     A        I might have one on mine saying,

11           "Hey, you've got an appointment."

12                     Q        Do you remember a Post-it note that

13           had a password on it on the computer screen in the

14           office?

15                     A        I do not.

16                     Q        Did you, yourself, go into the GEMS

17           room from time to time?

18                     A        No.    Not normally, no.

19                     Q        And you don't recall ever being in

20           the GEMS room and seeing a Post-it note like this

21           on the computer screen?

22                     A        No.




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1                       Q       Do you know what is written on this

2            Post-it note?

3                       A       Just a bunch of jumbled letters and

4            numbers.

5                       Q       Okay.    Do you know if it's a password

6            to something in the office?

7                       A       I do not.

8                       Q       Did you ever discuss -- this Post-it

9            note in the video, did you ever discuss that with

10           Ms. Hampton?

11                      A       No.

12                      Q       Is there any information that you

13           have about this Post-it note?

14                      A       No.

15                              MR. DELK:      Subject to any discussion

16           with us, don't talk about that.

17                              MR. CROSS:      Apparently you haven't

18           talked about it, she said no.

19           BY MR. CROSS:

20                      Q       Did you guys sometimes write

21           passwords on Post-it notes so they were easy to

22           remember?




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1                       A       No.     I don't do that.

2                       Q       Did Ms. Hampton?

3                       A       I do not know.

4                               MR. DELK:      Object to the form.

5            BY MR. CROSS:

6                       Q       Did you ever see her write a password

7            down on a Post-it note?

8                       A       Not to my knowledge, no.

9                       Q       Were you aware that there was a

10           Post-it note with the EMS -- well, hold on.                    Let me

11           back up.

12                              Do you know what I mean when I say

13           the EMS server?

14                      A       Server.

15                      Q       Okay.     And you understand there was a

16           server that sat in the GEMS room?

17                      A       Correct.

18                      Q       And you understand there was a

19           computer in there to log into that server?

20                      A       Yes.

21                      Q       Okay.     And so there was a password

22           that was needed to access that server, correct?




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1                      A        I do not know.

2                      Q        Okay.    But you understood to get into

3            that server, somebody would have to go to that

4            computer and log in?

5                      A        I don't know because I never used it.

6                      Q        Okay.    Did you ever -- did you ever

7            learn that there was a Post-it note pasted to the

8            underside of that desk that had the password on it

9            for the EMS server?

10                     A        I do not know.

11                     Q        Okay.    All right.       Ms. Ridlehoover, I

12           don't have a hard copy of this, but we've loaded it

13           as Exhibit 5, so I know the attorneys will have it

14           online.

15                         (Ridlehoover Deposition Exhibit Number 5

16                         marked for identification.)

17           BY MR. CROSS:

18                     Q        But this is another screenshot of --

19           if you can grab your glasses -- from the video.

20                     A        Oh, Lord, you're going to bring it up

21           here.

22                     Q        Yeah.    It's another picture of the




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1            guy with the white facial hair and then the guy in

2            the khakis.

3                      A        Yes, that is -- yes.          Go ahead.     I'm

4            sorry.

5                      Q        So the guy in the -- with the white

6            facial hair, does that still look like Ed Voyles?

7                      A        Yes.

8                      Q        And the guy in the khakis, now that

9            you see his face, who is he?

10                     A        That is Mr. Wendell Stone.

11                     Q        Wendell Stone.        So he's on the Board?

12                     A        Yes.

13                     Q        And who is the woman seated?

14                     A        This is Diana, which is Misty's

15           daughter.

16                     Q        Okay.     Thank you.

17                     A        Got it.

18                         (Ridlehoover Deposition Exhibit Number 6

19                         marked for identification.)

20           BY MR. CROSS:

21                     Q        All right.      Let me show you what's

22           going to be Exhibit 6.          Have you ever heard the




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1            name Scott Hall?

2                          (Discussion had off the record.)

3            BY MR. CROSS:

4                      Q        Have you ever heard the name Scott

5            Hall?

6                      A        Just recently.

7                      Q        Okay.    Let me hand you what's going

8            to be marked as Exhibit 6.            And get your glasses if

9            you need them.       Do you recognize him?

10                     A        No.

11                     Q        You don't recall ever seeing him in

12           the Coffee County Election Office before?

13                     A        I do not recognize him.

14                     Q        So you see the date at the top there,

15           it says, Thursday, January 7, 2021, and there's a

16           time underneath, 11:42 a.m.?

17                     A        Yes.

18                     Q        This is from a text message from that

19           date.    Do you remember being in the office on

20           January 7, 2021?

21                     A        I'm sure I was.

22                     Q        Okay.    Do you recall on January 7th,




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1            2021, a team of individuals came into the office

2            with equipment and went into the GEMS room?

3                      A        I remember people coming in, but I do

4            not remember any equipment.

5                      Q        Describe for me the people who came

6            in, as best as you can.

7                      A        I do not know.        It could have been

8            you.

9                      Q        Okay.    It wasn't me, just to be

10           clear.

11                              But you saw a team of individuals

12           come into the office on January 7th, 2021, and they

13           came into the space where you sat, right?

14                     A        Yes.

15                     Q        And did some of them also go into

16           Ms. Hampton's office?

17                     A        Yes.

18                     Q        And did some of them also go into the

19           GEMS room?

20                     A        I do not know.

21                     Q        Okay.    When they came in, were they

22           carrying any kind of equipment?




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1                      A        I have no clue.

2                               MR. DELK:      Object to the form.

3            BY MR. CROSS:

4                      Q        Were they carrying any kind of bags

5            and briefcases?

6                      A        I cannot remember.

7                      Q        Was it both men and women?

8                      A        I vaguely remember a lady.

9                      Q        Can you describe her?

10                     A        No.

11                     Q        What color of hair?

12                     A        I do not know.

13                     Q        Do you remember that she had a bit of

14           an -- an unusual accent?

15                     A        I do not remember.

16                         (Ridlehoover Deposition Exhibit Number 7

17                         marked for identification.)

18           BY MR. CROSS:

19                     Q        I will hand you what we'll mark as

20           Exhibit 7.      The woman in Exhibit 7, does that look

21           like the woman who came in that day?

22                     A        I do not remember.




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1                      Q        And this is a woman that -- are you

2            familiar with a firm in Georgia called Sullivan

3            Strickler?

4                      A        No, I'm not.

5                      Q        So you -- you vaguely remember there

6            was a woman that came in with this team on the 7th,

7            but you -- you don't remember if it was a woman in

8            Exhibit 7?

9                      A        I do not.

10                     Q        And nothing you can tell me about

11           her?

12                     A        No.

13                     Q        And looking back at Exhibit 6, a

14           picture of Scott Hall, just take your time with it.

15           Do you recall seeing him in --

16                     A        I do not.

17                              MR. DELK:      Make sure to let him

18           finish his question.

19                              THE WITNESS:       I know.     I know.

20                              MR. DELK:      You're fine.       Sometimes

21           you know where he's going, just let him finish.

22




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1            BY MR. CROSS:

2                       Q       How many people, approximately, came

3            in that day?

4                       A       I do not know.

5                       Q       Do you recall that it was around four

6            or five?

7                       A       I do not remember.

8                       Q       Do you recall that they came in from

9            mid to late morning?

10                      A       I do not remember.

11                      Q       And they were there all day?

12                      A       Yes.

13                      Q       They left sometime in the evening?

14                      A       I do not know.

15                      Q       Where -- where did you see them while

16           they were there?

17                      A       I stayed at my desk.

18                      Q       So they were not in your space for

19           most of the day?

20                      A       Correct.

21                      Q       You saw them go into Ms. Hampton's

22           office?




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1                      A        Correct.

2                      Q        And they were in there for some

3            extended period?

4                      A        Yes.

5                      Q        Okay.    You -- do I understand

6            correctly, you cannot see into the GEMS room

7            from -- from your desk?

8                      A        Correct.

9                      Q        So you saw them go into Ms. Hampton's

10           office and you're saying you don't know whether

11           they also then went into the GEMS room because you

12           can't see into that room?

13                     A        I do not.

14                     Q        But they would have gotten into the

15           GEMS room through Ms. Hampton's office.                 That's the

16           access point, right?

17                              MR. DELK:      Object to the form.

18           BY MR. CROSS:

19                     Q        It's the only door -- let me ask a

20           better question.

21                              The only door to the GEMS room is

22           from Ms. Hampton's office?




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1                      A        Correct.

2                      Q        Okay.    Did you hear them talking at

3            all during the day?

4                      A        They talked, but I was not paying

5            attention to anything they said.

6                      Q        Did it surprise you to see a team of

7            people come in that day and go into her office?

8                      A        Yes.

9                      Q        Why?    Was it unusual?

10                     A        I didn't know -- I didn't know what

11           they were doing.

12                     Q        So no one gave you a heads-up these

13           people were coming there?

14                     A        No.

15                     Q        No one told you why they were there?

16                     A        No.

17                     Q        Did you ask?

18                     A        No.

19                     Q        Why not?

20                     A        I take the Fifth.

21                              MR. CROSS:      Could we go off the

22           record?




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1                               VIDEOGRAPHER:       We are off the record

2            at 11:08.

3                          (Recess from 11:08 a.m. to 11:12 a.m.)

4                               VIDEOGRAPHER:       We are on the record

5            at 11:12.

6            BY MR. CROSS:

7                      Q        All right.      Ms. Ridlehoover, we were

8            talking about January 7th.            Do you recall that some

9            of the people that we were just talking about who

10           came in on January 7th, they also came back the

11           next day, right, on January 8th?

12                              MR. DELK:      Object to the form.

13                              THE WITNESS:       I do not remember.

14           BY MR. CROSS:

15                     Q        Okay.    Do you recall that some of

16           those people came back on January 19, came back a

17           couple of weeks later?

18                     A        I do not remember.

19                     Q        Okay.    Let me show you what's been

20           marked as Exhibit 7 -- 8.

21                         (Ridlehoover Deposition Exhibit Number 8

22                         marked for identification.)




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1            BY MR. CROSS:

2                      Q        Okay.    Tell me if you recognize the

3            person in Exhibit 8.

4                      A        I do not.

5                      Q        So this is a man named Paul Maggio.

6            Do you recall anyone who came into the office on

7            January 7th, 2021, that looked like him?

8                      A        I do not.

9                      Q        Okay.    Again, you just don't remember

10           any details about those people at all?

11                     A        I do not.

12                     Q        So you're not saying he wasn't there,

13           you're saying you just don't remember?

14                     A        I do not.      Sorry.

15                         (Ridlehoover Deposition Exhibit Number 9

16                         marked for identification.)

17           BY MR. CROSS:

18                     Q        Let me hand you Exhibit 9.            Tell me

19           if you recognize the individual in Exhibit 9.

20                     A        I do not.

21                     Q        And actually the picture that I've

22           shown you before, are these -- like, Mr. Maggio we




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1            just looked at, do you recognize as ever having

2            seen him at all anywhere?

3                      A        No.

4                      Q        And same with the picture of Scott

5            Hall, had you ever seen him?

6                      A        No.

7                      Q        And looking at Number 9, this is a

8            picture of a man named Dan Logan.              Have you ever

9            seen him before?

10                     A        No.

11                     Q        That one at the top.

12                     A        No.

13                     Q        So you don't recognize him at all?

14                     A        No.

15                     Q        Again, you're not saying that he's

16           never been in the Coffee County Election Office,

17           you just don't remember one way or the other?

18                     A        Correct.

19                     Q        Okay.

20                         (Ridlehoover Deposition Exhibit Number 10

21                         marked for identification.)

22




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1            BY MR. CROSS:

2                      Q        Exhibit 10.      Have you ever seen the

3            man in Exhibit 10 before, please?

4                      A        No, I have not.

5                      Q        So this is a man named Greg Freemyer.

6            You don't recognize him at all?

7                      A        No.

8                      Q        You're not saying he's never been in

9            the Coffee County Elections Office, you just don't

10           recall one way or the other?

11                     A        Correct.

12                     Q        Okay.

13                         (Ridlehoover Deposition Exhibit Number 11

14                         marked for identification.)

15           BY MR. CROSS:

16                     Q        Exhibit 11, tell me if you recognize

17           the individual in Exhibit 11.

18                     A        No, I do not.

19                     Q        So you don't -- you don't recall one

20           way or the other whether he's ever been in the

21           Coffee County Election Office?

22                     A        I do not.




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1                          (Ridlehoover Deposition Exhibit Number 12

2                          marked for identification.)

3            BY MR. CROSS:

4                      Q        Exhibit 12.      Tell me if you recognize

5            the individual in Exhibit 12.

6                      A        I do not.

7                      Q        So you don't recall one way or the

8            other whether he's ever been in the Coffee County

9            Election Office?

10                     A        Correct.

11                     Q        Okay.    Ms. Ridlehoover, we're going

12           to pull up an exhibit.

13                              Just for the record, I asked you

14           earlier why you didn't ask anyone about why these

15           people were there.         The question is withdrawn and

16           I'll strike that.

17                         (Ridlehoover Deposition Exhibit Number 13

18                         marked for identification.)

19           BY MR. CROSS:

20                     Q        All right.      So these guys all have

21           Exhibit 13 online.         Let me show you Exhibit 13.

22           This is another screenshot from the YouTube video




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1            that was taken in the office in December 2020.                 The

2            guy in the blue shirt there, can you -- you can see

3            his face a little bit better.             Do you recognize him

4            now?

5                       A       That's Matt.       Matthew McCullough.

6                       Q       Okay.     A board member?

7                       A       Correct.

8                       Q       And scroll down.

9                       A       Oh, gosh, that's me.

10                      Q       Okay.     And if you come -- if you come

11           down to the second page, there's two individuals

12           there --

13                      A       Uh-huh.

14                      Q       -- you can see from the screenshot.

15           The one on the left in the pink shirt -- and we're

16           looking at Exhibit 13 -- that's Eric Chaney?

17                      A       Correct.

18                      Q       The one on the right is Wendell

19           Stone?

20                      A       Correct.

21                      Q       Okay.     Thank you.

22                      A       You can give me that scroll, it ain't




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1            happening.

2                      Q        So on January 7, 2021, you showed up

3            to work as usual?

4                      A        Correct.

5                      Q        You showed up on time?

6                      A        Correct.

7                      Q        What did you typically do when you

8            went into the office?

9                      A        Cut everything on.         Put my water or

10           Mountain Dew in refrigerator.             Got at my desk, put

11           it on.    Got my system, my thingy up and went to

12           work.

13                     Q        Were you usually the first one in?

14                     A        Yes.

15                     Q        Okay.    And you said you -- your hours

16           were typically 8:30?

17                     A        Correct.

18                     Q        Did you stay until 4:30?

19                     A        Until 5:00.

20                     Q        Until 5:00.

21                              And so on January 7th, do you -- do

22           you remember that you were the first person there




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1            that day?

2                      A        Yes.

3                      Q        So you came in and turned everything

4            on?

5                      A        Correct.

6                      Q        And then you, what, sat down at your

7            desk?

8                      A        Yes.

9                      Q        Before this team of people came in,

10           do you recall anyone else coming in that day?

11                     A        Just Misty and Diana, I would

12           assume -- Diana and Misty, they came in.

13                     Q        And Diana is Ms. Hampton's daughter?

14                     A        Correct.

15                     Q        And do you recall why Ms. Hampton's

16           daughter was there that morning?

17                     A        I do not.

18                     Q        How long was she there?

19                     A        I guess all day.

20                     Q        Okay.    And again, I don't want you to

21           guess.    You remember her coming in, do --

22                     A        I remember her coming in, I don't




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1            remember when she left.

2                       Q       Okay.    You don't -- you don't

3            remember seeing her walk out the door?

4                       A       No.

5                       Q       And she would have had to walk past

6            you to get out the door, right?

7                       A       Correct.

8                       Q       Do you remember roughly about how

9            long after you arrived before this team of people

10           came in?

11                      A       I do not.

12                      Q       But it is fair to say it was hours,

13           not minutes?

14                      A       Yes.

15                      Q       All right.      Before lunch?

16                      A       I do not remember.

17                      Q       When did you typically take lunch?

18                      A       It just varied.

19                      Q       I assume there was a rough window in

20           the middle of the day?

21                      A       Usually on schooldays, I went to

22           lunch from 2:30 to 3:30 so I could go get my son




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1            from school.

2                      Q        January 7, 2021, likely would have

3            been a schoolday, right?

4                      A        Yes.

5                      Q        So likely you would have left in that

6            same window that day?

7                      A        Yes.

8                      Q        And would that typically have been on

9            the schoolday the only time that you would have

10           been out of the office?

11                     A        Yes.

12                     Q        Are you a smoker?

13                     A        No.

14                     Q        Okay.    So you don't walk out for

15           smoke breaks?

16                     A        No.

17                     Q        Good decision.

18                              When these people -- when this team

19           of people showed up that morning, who let them in

20           to your space?

21                     A        I do not remember.         I mean, I don't

22           know if the door was open.            I honestly -- I don't




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1            remember.

2                       Q       But you saw them come through the

3            parking lot door, you saw them through your window

4            first?

5                       A       I do not remember.

6                       Q       Okay.    You remember that Eric Chaney

7            was there that day, right?

8                       A       I do not remember.

9                       Q       You remember that Cathy Latham was

10           there that day, right?

11                      A       I do remember Cathy.

12                      Q       And Cathy arrived sometime that

13           morning?

14                      A       I do not remember.

15                      Q       Okay.    But she arrived before you

16           left to pick up your son?

17                      A       Yes.

18                      Q       And she was still there when you went

19           to pick up your son?

20                      A       I do not remember.

21                      Q       You recall seeing her come in, you

22           don't recall seeing her leave?




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1                       A       Correct.

2                       Q       And she went into Ms. Hampton's

3            office with this team of people, right?

4                       A       I don't remember.

5                       Q       Well, if she was -- if she was in

6            your space, she would have been standing with you,

7            right?

8                               MR. DELK:      Object to the form.

9                               You can respond.

10                              THE WITNESS:       I mean, I just sat at

11           my desk.

12           BY MR. CROSS:

13                      Q       Okay.    Did you speak with her that

14           day, Cathy Latham?

15                      A       I don't remember.

16                      Q       All right.      But you don't remember

17           her sitting in your space?

18                      A       No, I don't.

19                      Q       Do you recall her walking into

20           Ms. Hampton's office at some point?

21                      A       I do not remember.

22                      Q       Okay.    You just recall that she came




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1            into the building that day when the team was there

2            and --

3                      A        Correct.

4                      Q        -- you don't recall when she left?

5                      A        Correct.

6                      Q        Okay.    Do you recall that Ms. Latham

7            came in that day holding a scanner?

8                      A        I do not.

9                      Q        And you don't recall that she brought

10           in some sort of device?

11                     A        I do not.

12                     Q        Okay.    Have you ever heard the name

13           James Barnes?

14                     A        Yes.

15                     Q        Okay.    And are you aware that James

16           Barnes placed Misty Hampton as the election

17           supervisor in Coffee County?

18                     A        Yes.

19                     Q        Okay.    All right.       Let me show you

20           Exhibit 14.

21                         (Ridlehoover Deposition Exhibit Number 14

22                         marked for identification.)




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1            BY MR. CROSS:

2                      Q        So, Ms. Ridlehoover, I would not

3            expect you to have seen Exhibit 14 before.                     It's an

4            e-mail from Frances Watson to Pamela Jones, on

5            May 11th of 2021.

6                               Do you recall Frances Watson was the

7            head of the investigative unit at the Secretary's

8            office?

9                      A        I do not.

10                     Q        Okay.    What I want you to look at is,

11           look behind the slip sheet.            There's an e-mail here

12           from James Barnes, this is May 7 of 2021, so the --

13           the election supervisor in Coffee County.                 And he

14           sends this e-mail to Chris Harvey of the Secretary

15           of State's Office.

16                              Do you see that?

17                     A        Yes.

18                     Q        Do you remember the name Chris

19           Harvey?

20                     A        Yes.

21                     Q        And do you recall that Chris Harvey

22           was the State Election Director?




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1                      A        Yes.    Yes.

2                      Q        And the subject line of Mr. Barnes'

3            e-mail says, "Coffee County," and then there's an

4            attachment entitled, "Cyber Ninja."

5                               Do you see that?

6                      A        Yes.

7                      Q        Mr. Barnes wrote to Chris Harvey on

8            May 7 of 2021, and he says that, "The Dominion

9            e-mail today pertaining to cyber ninjas was

10           alarming to me.        When I took over the Coffee County

11           office, the attached business card was at the base

12           of Misty Hayes' computer monitor.              I thought

13           nothing of it until I heard about the situation in

14           Arizona with the DoJ.          If she did not use them, she

15           was at the very least in contact."

16                              Do you see that?

17                     A        Yes.

18                     Q        And Misty Hayes is another name for

19           Misty Hampton?

20                     A        Yes.

21                     Q        Okay.    So you see that Mr. Barnes

22           reported to Chris Harvey on May 7, 2021, that he




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1            found sitting next to Ms. Hampton's computer a card

2            from Cyber Ninja.

3                               Are you with me?

4                      A        Yes.

5                      Q        Okay.    So flip to the last page.

6            This is a copy of the card that Mr. Barnes sent

7            Chris Harvey.       Do you recall ever seeing that card

8            in the office?

9                      A        No.

10                     Q        Do you recall anybody coming in while

11           you were there and -- and mentioning Cyber Ninjas?

12                     A        No.

13                     Q        Does this refresh your recollection

14           at all that Doug Logan, or someone from Cyber

15           Ninjas, came into the office?

16                     A        No.

17                     Q        Do you have any information at all

18           about why that card was in Ms. Hampton's office?

19                              MR. DELK:      Object to the form.

20                              THE WITNESS:       No.

21           BY MR. CROSS:

22                     Q        Okay.    All right.       Let me hand you




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1            Exhibit 15.

2                          (Ridlehoover Deposition Exhibit Number 15

3                          marked for identification.)

4            BY MR. CROSS:

5                      Q        And you can take a moment to flip

6            through it, but it's -- it's two memos, and then

7            there's a third page, it's got a table attached to

8            it with some handwritten notes.

9                               And just looking at the cover page

10           first for Exhibit 15, you see it says, "Memo to

11           Coffee County Election Supervisor from Center for

12           Election Systems."

13                     A        Uh-huh.

14                     Q        Yes?

15                     A        Yes.

16                     Q        Okay.

17                     A        Sorry.

18                     Q        That's okay.

19                              And the Center for Election Systems,

20           that's at the state level, right?

21                     A        I -- yes, I'm assuming -- yes, I

22           guess.




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1                               MR. DELK:      Don't assume.

2                               MR. CROSS:      Don't guess.

3                               MR. DELK:      If you know, you know.

4                               THE WITNESS:       I mean, I do not know.

5            BY MR. CROSS:

6                       Q       Okay.    Let me ask you this:          Have you

7            ever heard of the Georgia Center for Election

8            Systems?

9                       A       Vaguely.

10                      Q       Okay.    Have you ever heard it

11           referred to as "CES"?

12                      A       No.

13                      Q       Okay.    If you look at this, in the

14           middle it says, "Upon receiving the secured red bag

15           containing the USB drive holding the January 5th

16           General Election Runoff for the US Senate and

17           Public Service Commission and any local races, if

18           applicable; please contact CES to obtain the

19           password to access the USB drive."

20                              Do you see that?

21                      A       Yes.

22                      Q       Have you ever seen a memo like this




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1            before when you were in the County Election Office?

2                      A        Yes.

3                      Q        To take a step back for a moment.

4            When you guys would run an election in Coffee

5            County, leading up to that election, you would get,

6            what's referenced here, a secured red bag would

7            come delivered to the office with a flash drive in

8            it, right?

9                               Some sort of device in it?

10                     A        Yes.    Yes.

11                     Q        Okay.    And just like laid out in

12           Exhibit 15, someone in the office would have to

13           call the State to get a password to access that

14           device?

15                     A        I do not know.

16                     Q        Okay.    When that bag came in with

17           that device, did Ms. Hampton handle it?

18                     A        Yes.

19                     Q        Did you have any responsibility for

20           that?

21                     A        No.

22                     Q        So that bag would go to Ms. Hampton




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1            and she would do what she did with it?

2                      A        Yes.

3                      Q        If you look at the -- further down on

4            the memo, do you see it says, "EED User Name"?

5                      A        Yes.

6                      Q        Do you know what that refers to?

7                      A        I do not.

8                      Q        Have you ever heard of something

9            called the "Election Event Designer"?

10                     A        No.

11                     Q        Have you ever heard of "Election

12           Project Files"?

13                     A        No.

14                     Q        If you look down, do you see where it

15           says, "RTR User Name" and "RTR Password"?

16                     A        Yes.

17                     Q        Have you heard of something called

18           "Results Tally and Reporting"?

19                     A        No.

20                     Q        And then if you look further down, do

21           you see where it says, "Technician/Poll

22           Worker/Security Key Tab"?




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1                      A        Yes.

2                      Q        Do you know what that refers to?

3                      A        Yes.

4                      Q        What does that refer to?

5                      A        That is the number I would key in to

6            open and close the machines at the end of the day

7            or the beginning of the day.

8                      Q        And the machines, you mean what you

9            call the touchscreens?

10                     A        Yes.     Sorry.

11                     Q        And when you say you would use that

12           to open and close the beginning and end of the day,

13           just walk me through what you did.

14                     A        We walked in.       Everybody got there

15           around 8:15.       You walked in.        I took the -- the

16           security code key, the card, I put it in.                 Type in

17           the little number, open, pull it out.                Move to the

18           next one.

19                     Q        This is for an election?

20                     A        Advanced voting.

21                     Q        Right.

22                     A        Advanced voting.




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1                      Q        So for the -- as I understand what

2            you said before, for advanced voting, a Dominion

3            tech would come and take the touchscreens out of

4            the vault?

5                      A        Yes.

6                      Q        And then you would -- you would help

7            set those up?

8                      A        No.

9                      Q        He would set those up?

10                     A        Yes.

11                     Q        So he would physically set them up in

12           the early voting room?

13                     A        Yes.

14                     Q        So then at some point you would enter

15           a key, like the one in Exhibit 15, to activate

16           them?

17                     A        On start of advanced voting, first

18           day, yes.

19                     Q        So you would start advanced voting,

20           you would go into each of the machines the Dominion

21           tech had set up in that room, enter this key to

22           activate the touchscreen machines?




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1                      A        Correct.

2                      Q        And did you use that key also to shut

3            them down?

4                      A        Yes.

5                      Q        Did you do that at the end of each

6            day of advanced voting?

7                      A        Yes.

8                      Q        So each day of advanced voting, you

9            would have to enter a key to activate them, and

10           then you entered that same key at the end of the

11           day to deactivate them?

12                     A        Correct.

13                     Q        Okay.    And that was -- that was your

14           responsibility?

15                     A        Correct.

16                     Q        And looking at this, do I understand

17           right, it was the same key for each touchscreen?

18                     A        For each election, yes.

19                     Q        So every election, you'd get -- you'd

20           get a new key to activate the touchscreens just for

21           that election?

22                     A        Correct.




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1                      Q        And it would be the same key for all

2            the touchscreens?

3                      A        Correct.

4                      Q        And that key would come in from the

5            State?

6                               Let me just ask a better question.

7            Where did that key come from?

8                      A        I do not.

9                      Q        Who gave it to you?

10                     A        Misty.

11                     Q        So Ms. Hampton got the key from

12           somewhere and you don't know where?

13                     A        The code, not -- the code.

14                     Q        The -- yeah, what we're calling the

15           key here, this code --

16                     A        Yes.

17                     Q        -- to do that?

18                     A        Yes.

19                     Q        Okay.    Could you describe for me the

20           steps to enter that code?

21                              What are you entering it on?

22                              So I'm trying to understand the




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1            mechanics of it, right?

2                               So you -- you walk into the early

3            voting room, Dominion tech has all the machines set

4            up?

5                      A        Correct.

6                      Q        And you walk up to one of these

7            touchscreens?

8                      A        Correct.

9                      Q        And you're going to enter a code like

10           we have in Exhibit 15?

11                     A        Correct.

12                     Q        Where do you enter it?

13                     A        It showed a little keypad.            Once you

14           put that credit card key thing in, it showed up as

15           a little keypad, just like a little -- like an ATM

16           keypad.

17                     Q        These were physical buttons, not a

18           touchscreen?

19                     A        No, it was a touchscreen.

20                     Q        Touchscreen.

21                              Was it on the same touchscreen where

22           the voters would vote?




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1                      A        Yes.

2                      Q        So you had -- you had one of these

3            memory cards, kind of looks like a credit card?

4                      A        Yes.

5                      Q        You would slide that into a slot on

6            the touchscreen?

7                      A        Correct.

8                      Q        And the touchscreen would come alive

9            with a keypad on it?

10                     A        Correct.

11                     Q        Nine-digit keypad or ten-digit or

12           what?

13                     A        Oh, one digit -- it was one through

14           zero, yeah.

15                     Q        So one through nine and then zero?

16                     A        Zero, yes.

17                     Q        Any other options?

18                     A        I honestly don't remember.

19                     Q        You would enter the code and that

20           would activate the machine?

21                     A        Correct.

22                     Q        Okay.    And that was the same process




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1            and same key code for each machine for a given

2            election?

3                      A        Correct.

4                      Q        The next one we see here in Exhibit

5            15, it refers to -- I'm sorry, you can stay on the

6            same page.

7                      A        Okay.

8                      Q        -- "ICP30/ICC and ICP Supervisor."

9            Do you see that?

10                     A        Yes.

11                     Q        And there's a six-digit code.               Do you

12           see that?

13                     A        Yes.

14                     Q        Do you know what that refers to?

15                     A        Refresh me, what is an ICC?

16                              MR. DELK:      If you don't know -- I

17           think that's what he's asking.             If you know it --

18                              THE WITNESS:       I do not know.

19           BY MR. CROSS:

20                     Q        So there's a central scanner in the

21           office, right?

22                              There's a scanner in your -- that's




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1            out in the GEMS room, correct?

2                       A       Correct.

3                       Q       And have you ever heard of that

4            referred to as the ICC?

5                       A       Yes.

6                       Q       Okay.    Does that help you -- an ICP,

7            there are also individual scanners in the early

8            voting room, right?

9                       A       Yes.

10                      Q       And there were individual scanners

11           that would go out with the touchscreens to

12           precincts, right?

13                      A       Yes.

14                      Q       Do you recall those being referred to

15           as ICPs?

16                      A       Is that the black trashcan?

17                      Q       If you don't know, just say, "I don't

18           know."

19                      A       I don't know.

20                      Q       The black trashcan, what you got for

21           the black trashcan would be an individual

22           scanner --




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1                       A       Uh-huh.

2                       Q       -- right?

3                               It's a scanner that sits --

4                       A       Yes.

5                       Q       -- on top and the ballot falls into

6            the bin?

7                       A       Yes.

8                       Q       Did you ever hear that called an ICP?

9                       A       No.

10                      Q       Okay.     So just looking at this, do

11           you know what the code here was used for?

12                      A       I do not.

13                      Q       Okay.     The -- and sorry, you may have

14           said this.      Where it indicates that the secured red

15           bag comes in and there's a password that has to be

16           obtained, did I understand right, Ms. Hampton would

17           handle that, to your knowledge?

18                      A       Right.

19                      Q       Okay.     All right.      Let's -- let's go

20           back to January 7 of 2021.            Did you see anyone

21           scanning ballots that day?

22                      A       I do not remember.




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1                      Q        Do you recall Misty Hampton scanning

2            ballots after that team left for a period of days

3            or weeks?

4                      A        I do not remember.

5                      Q        Do you recall a scanner sitting in

6            that office that wasn't -- it wasn't a traditional

7            scanner you had there, it wasn't a Dominion

8            scanner, it was a scanner somebody brought in and

9            Ms. Hampton was using it to scan ballots?

10                     A        I do not remember.

11                     Q        Where were the ballots kept in the

12           office after an election?

13                     A        It was a little black case like

14           yay -- yay big.

15                     Q        And where was that case kept?

16                     A        In the vault.

17                     Q        On January 7, when that team came in,

18           do you recall that they went into the vault for

19           some period?

20                     A        I do not.

21                     Q        So all you recall is seeing them come

22           in, go into Ms. Hampton's office, you don't recall




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1            where else they went?

2                      A        I do not.

3                      Q        I'm going to hand you what's been

4            marked as Exhibit 16.

5                               Wait.     I need one of those back.

6            Thank you.

7                          (Ridlehoover Deposition Exhibit Number 16

8                          marked for identification.)

9            BY MR. CROSS:

10                     Q        And so, Ms. Ridlehoover, what I have

11           handed you here is a string of text messages

12           between Eric Chaney and Misty Hampton.                Okay?

13                     A        Okay.

14                     Q        If you'll flip -- if you look at the

15           bottom right corner, you'll see where it says page

16           number --

17                     A        Uh-huh.

18                     Q        -- of 24.

19                     A        Yes.

20                     Q        Flip to, please, page 22 of 24.             If

21           you look down at the bottom -- well, actually look

22           in the middle.       Do you see there's a date,




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1            January 6, 2021 at 4:26 p.m.?

2                      A        Yes.

3                      Q        And here we have a text that Misty

4            Hampton sends to Eric Chaney that reads, "Scott

5            Hall is on the phone with Cathy, but wanting to

6            come scan our ballots from the general election

7            that we talked about the other day.               I'm going to

8            call you in a few."

9                               Do you see that?

10                     A        Yes.

11                     Q        Does that refresh your recollection

12           at all that Scott hall came into the Elections

13           Office on or around January 7th of 2021?

14                              MR. DELK:      Object to the form.

15                              THE WITNESS:       I don't know who came

16           in the office.

17           BY MR. CROSS:

18                     Q        Does it refresh your recollection at

19           all that individuals -- one or more individuals

20           were scanning ballots in the office on or around

21           January 7 of 2021?

22                     A        I do not recall anybody scanning a




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1            ballot.

2                      Q        Okay.    Then if you come further down,

3            do you see the date, January 7, 2021, at 10:18

4            a.m.?

5                      A        Yes.

6                      Q        And here Ms. Hampton writes to

7            Mr. Chaney, "Hey, are you coming into the office?

8            I'll need a board member to be here when we

9            transfer ballots."

10                              Do you see that?

11                     A        Yes.

12                     Q        Do you see Mr. Hampton -- I'm sorry,

13           Mr. Chaney responds, "I'll be there at 11:00"?

14                     A        Yes.

15                              MR. DELK:      Object to the form.

16                              THE WITNESS:       Uh-huh.

17           BY MR. CROSS:

18                     Q        Does that refresh your recollection

19           that Mr. Chaney was in the office for some portion

20           of January 7 of 2021?

21                     A        No.

22                     Q        You just don't remember?




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1                      A        I do not.

2                      Q        If you look at the top of the next,

3            do you see still on January 7, 2021, at 7:24 p.m.

4            Do you see that?

5                      A        Yes.

6                      Q        Mr. Chaney sends a text to

7            Ms. Hampton with a phone number, an 864 number.                 Do

8            you see that?

9                      A        Yes.

10                     Q        Do you recognize that number?

11                     A        No.

12                     Q        Have you ever heard the name Robert

13           Sinners, S-I-N-N-E-R-S?

14                     A        No.

15                     Q        If you come further down that same

16           page, do you see there's a date in the middle,

17           January 19, 2021, at 10:35 a.m.?

18                     A        Yes.

19                     Q        And you see Ms. Hampton sends a text

20           to Eric Chaney that says, "If you happen to be in

21           town, the guys measuring my desk are still here."

22                              Do you see that?




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1                      A        Yes.

2                      Q        Were you aware that that was a code

3            that Ms. Hampton and Mr. Chaney worked out to refer

4            to individuals who are accessing the voting

5            equipment that day?

6                      A        No.

7                               MR. DELK:      Object to the form.

8            BY MR. CROSS:

9                      Q        Fair to say you didn't see anyone in

10           the office on January 19th with a tape measure

11           measuring her desk, right?

12                     A        I do not recall.

13                     Q        Sorry, just a few more questions on

14           this.

15                              Turn to page 12 of 24 if you would,

16           please.       All right.    Sorry, turn to page 15.

17                     A        What now?

18                     Q        Page 15 of 24.        If you look down at

19           the bottom, it's kind of hard to see, but it's a --

20           it's a screenshot from Amazon for the purchase of a

21           digital voice recorder.

22                              Do you see that?




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1                      A        I see the picture, but I cannot see

2            what it is.

3                      Q        I had to take a picture and zoom in

4            on my phone.       It's hard to see.

5                               Did you guys record board meetings,

6            audio record?

7                      A        They did, but it was on an -- a

8            dinosaur, the old-timey, you press play and record,

9            you flip the tape over when it cuts off.                 That's

10           what they recorded it on.

11                     Q        The -- you're talking an old cassette

12           tape recordings?

13                     A        Yes, correct.

14                     Q        Were you aware at some point they

15           switched to a digital voice recorder?

16                     A        Not that I'm aware of.

17                     Q        Who maintained the recordings of

18           those meetings?

19                     A        Misty.

20                     Q        Ms. Hampton did?

21                     A        Yes.

22                     Q        And do you know where they were kept?




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1                       A       Just that -- I mean, just -- a box,

2            because really, she never went -- she took notes on

3            her paper of what happened at the board member

4            meeting.       I mean, if there was a question, they

5            would go back and play the tape, but other than

6            that, to my knowledge, it was the same tape over

7            and over every month.

8                       Q       So they would record the meetings and

9            then she would keep the tape recorder and tape

10           somewhere in her office, as far as you know?

11                      A       I do not remember.

12                              MR. DELK:      Object to the form.

13           BY MR. CROSS:

14                      Q       When the meeting ended, who took the

15           tape recorder, she did or someone else?

16                      A       Misty did.

17                      Q       Do you remember where she took it?

18                      A       I do not.

19                      Q       All right.      Flip to page 13, if you

20           would.     Do you see the text in the middle of the

21           page dated 11/13/2020 at 2:25 p.m.?

22                      A       Yes.




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1                      Q        And you see that there's a photo of a

2            ballot that's got two QR codes on it?

3                      A        Yes.

4                      Q        Do you recall from time to time that

5            the Dominion system would generate -- it would

6            print a ballot that had more than one QR code?

7                      A        I do not.

8                      Q        That's not something you recall

9            talking to Ms. Hampton about?

10                     A        I honestly do not remember.

11                     Q        Okay.    Then further down there's a

12           picture of a ballot where Ms. Hampton indicates, if

13           you look below, it says, "Look at this one, only

14           printed a few races."

15                              Do you see that?

16                     A        Yes.

17                     Q        Do you recall incidents where the

18           Dominion system, the ballot would be printed for

19           the voter, it would be missing some of the

20           elections that they had voted in?

21                     A        I do not remember.

22                     Q        Okay.    Do you recall -- strike that.




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1                               Did you ever discuss with Ms. Hampton

2            or her daughter about the ability to watch Netflix

3            on the poll pads?

4                      A        I do not remember.

5                      Q        You don't remember her daughter

6            saying that she could access Netflix on the poll

7            pads on the election day?

8                      A        I don't remember.

9                      Q        Okay.    Flip to page 19, if you would,

10           please.

11                     A        Nineteen?

12                     Q        Yes, ma'am.

13                              If you look at the top, you'll see

14           there's a date of September 30th, 2020.                 Do you see

15           that --

16                     A        Yes.

17                     Q        -- at 4:00 p.m.?

18                              And do you see there's three pictures

19           here and those pictures are pictures of poll pads,

20           right?

21                     A        Correct.

22                     Q        And you've seen the poll pads




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1            yourself before?

2                      A        Correct.

3                      Q        Did you ever use a poll pad?

4                      A        Yes.    In advanced voting, like during

5            lunch.

6                      Q        Okay.    And what -- what was your

7            responsibility with respect to poll pads?

8                      A        To create a card if somebody went to

9            lunch.

10                     Q        Okay.    Do you see on the top one on

11           the screen there, it's Netflix on the poll pad

12           screen?

13                     A        Yes.

14                     Q        Does that refresh your recollection

15           that the poll pads can access the internet,

16           including Netflix?

17                              MR. DELK:      Object to the form.

18                              THE WITNESS:       No, I do not remember.

19           BY MR. CROSS:

20                     Q        Okay.    After the board meeting where

21           you were let go, did you ever return to the Coffee

22           County Election Office?




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1                       A       To vote --

2                       Q       Okay.

3                       A       -- this past time.

4                       Q       Did you ever return for any other

5            reason?

6                       A       No.

7                       Q       So, for example, did you go -- did

8            they let you go back to get personal belongings?

9                       A       Oh, yes.     Yes, that day.        But it was

10           that day.

11                      Q       Did you go immediately from the board

12           meeting?

13                      A       Yes.

14                      Q       Did anyone go with you?

15                      A       Fred Cole, which is a deputy.               And I

16           think that's it.

17                      Q       Did he follow you there in his car or

18           you rode with him?

19                      A       We walked across the street.

20                      Q       Oh, it's close by.

21                      A       Yes.

22                      Q       And he walked in with you?




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1                      A        Yes.

2                      Q        And did he escort you, like, to your

3            desk?

4                      A        I don't remember all that.            I mean,

5            it was me and Misty both.

6                      Q        So you and Ms. Hampton left the

7            courthouse after the meetings and Sheriff -- Deputy

8            Sheriff -- what is he?

9                      A        Chief deputy or whatever it is.

10                     Q        Cole?

11                     A        Yes, Cole.

12                     Q        -- he escorted you back into the

13           Coffee County Election Office to gather personal

14           belongings?

15                     A        Correct.

16                     Q        Do you remember about how long you

17           guys were in that office?

18                     A        I don't.

19                     Q        Would you say minutes or hours?

20                     A        It wasn't hours.

21                     Q        Okay.    Was it one hour?

22                     A        I honestly don't remember.            I mean, I




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1            do not remember.

2                      Q        And where was Ms. Hampton while you

3            were in the office at that time?

4                      A        In her office.

5                      Q        And did you guys talk at all while

6            you were in that office?

7                      A        I do not remember.

8                      Q        Could you see what she was doing in

9            her office?

10                     A        No.

11                     Q        Do you know whether she went into the

12           GEMS room at that time?

13                     A        I do not.

14                     Q        Did you?

15                     A        No.

16                     Q        I think you said earlier, have you

17           ever logged into the -- the server in the GEMS

18           room?

19                     A        No.

20                     Q        Did you ever know what the password

21           was?

22                     A        No.




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1                      Q        Did you ever hear of anyone changing

2            that password?

3                      A        No.

4                      Q        Do you know if you or Ms. Hampton had

5            the ability to change that password on the

6            computer?

7                      A        I do not.

8                      Q        Do you have any information on why

9            the password on the server computer would have

10           stopped working at any point after you guys left?

11                     A        I do not.

12                     Q        Did you ever hear that the password

13           on the server computer stopped working while you

14           were still there?

15                     A        I did not.

16                     Q        The people who came in on the 7th, do

17           you recall if any of them were black or white?

18                     A        I do not remember.

19                     Q        Was any of them black or were they

20           all white?

21                     A        I don't think so, no.

22                     Q        Okay.    So the best of your




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1            recollection, everyone who came in that -- that day

2            on that team was white?

3                      A        Correct.

4                      Q        Do you remember whether any of them

5            had facial hair?

6                      A        I do not.

7                      Q        Do you remember hair color?

8                      A        I do not.

9                      Q        Do you remember if any of them was

10           tall or short?

11                     A        I do not.

12                     Q        Did you speak with any of them?

13                     A        No, I did not.

14                     Q        Other than your counsel, did you

15           speak to anyone about your deposition today?

16                     A        No, I did not.

17                     Q        Did you speak to Mr. Chaney?

18                     A        No, I did not.

19                     Q        Have you spoken to Mr. Chaney, Eric

20           Chaney, at all about your time in the Elections

21           Office since you left that office?

22                     A        No, we did not.




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1                      Q        Never talked about it?

2                      A        We do not.

3                      Q        Why is that?

4                               MR. DELK:      Object to the form.

5                               THE WITNESS:       No need to.

6            BY MR. CROSS:

7                      Q        In the time that you were in the

8            Coffee County Election Office, did anyone from the

9            State ever contact you about this team that came in

10           on the 7th?

11                     A        No.

12                     Q        Did anyone from the State ever --

13           strike that.

14                              Since you left the office, has anyone

15           from the State ever contacted you about whether

16           anyone had access to the Coffee County Election

17           Office that shouldn't have?

18                              MR. DELK:      Object to the form.

19                              You can answer.

20                              THE WITNESS:       No.

21           BY MR. CROSS:

22                     Q        Has anyone from the State ever




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1            contacted you about, at any time, individuals who

2            may have come into the office on or around

3            January 7th of 2021?

4                      A        No.

5                      Q        Has anyone from the State ever

6            contacted you about any State investigation related

7            to Coffee County Elections?

8                      A        No.

9                      Q        Has anyone from the FBI?

10                     A        No.

11                     Q        Has anyone ever suggested to you that

12           you might face criminal charges for any conduct

13           while you were in the Coffee County Elections

14           Office?

15                              MR. DELK:      She answered no.

16                              THE WITNESS:       No.

17           BY MR. CROSS:

18                     Q        Do you have any reason to believe

19           that you personally committed any crime during your

20           time in the Coffee County Elections Office?

21                     A        No.

22                              MR. DELK:      Object to the form.




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1                               MR. CROSS:      All right.       Let's take a

2            break.

3                               MR. DELK:      Sure.

4                               VIDEOGRAPHER:       We are going off the

5            record at 11:57.

6                          (Recess from 11:57 a.m. to 12:17 p.m.)

7                               VIDEOGRAPHER:       We are on the record

8            at 12:17.

9            BY MR. CROSS:

10                     Q        All right.      Almost done,

11           Ms. Ridlehoover.         We appreciate your time today.

12                              All right.      When you worked in the

13           Coffee County Election Office, did you send e-mails

14           from your work sometimes?

15                     A        No.

16                     Q        Okay.    But you had -- you had an

17           e-mail account on your computer?

18                     A        Yes, just -- yes.

19                     Q        Okay.    It was an Outlook account,

20           Microsoft?

21                     A        I do not remember.

22                     Q        Okay.    When you -- when you came in




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1            in the morning and sat down at your computer, did

2            you log in?

3                      A        Yes.

4                      Q        So you had a user name and a

5            password?

6                      A        Yes.

7                      Q        Did you set the password?

8                      A        Yes.

9                      Q        Did the password ever change while

10           you were there?

11                     A        I do not remember.

12                     Q        Okay.     So you don't remember, for

13           example, changing your password every few months or

14           every year or anything like that?

15                     A        No.

16                     Q        Did you write the password down

17           somewhere to help you keep track of it?

18                     A        No.     I use the same password for

19           everything.

20                     Q        What -- what does that mean?

21                              MR. DELK:      Don't tell him your

22           password for the record.




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1            BY MR. CROSS:

2                      Q        Oh, oh, oh, oh.        I see.     You're

3            saying the password you had for your work computer

4            was the same password you use for, like, personal

5            things?

6                      A        Right.

7                      Q        Okay.    Okay.     No, don't give us your

8            password.

9                               All right.       Is it fair to say at some

10           point when you started your job, you set a password

11           that you used for everything because it's easy to

12           remember?

13                     A        Correct.

14                              MR. DELK:      Object to the form.

15           BY MR. CROSS:

16                     Q        As far as you recall, that password

17           didn't change while you were there?

18                     A        Not that I remember.

19                     Q        Okay.    When you would log into your

20           computer, what would you do next?

21                     A        Pull up E-net.

22                     Q        Okay.    What did you do with E-net?




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1            What were your responsibilities with respect to

2            E-net?

3                      A        Is that what it's called?

4                               That's where you register somebody to

5            vote, change their address, if we got where they

6            were deceased, take them out of the system.

7                      Q        Got it.

8                               Did you log into an e-mail account or

9            did you open e-mail once you were logged into your

10           computer?

11                     A        Honestly, I never used the County

12           e-mail, I just did it straight through my -- my

13           personal e-mail.

14                     Q        All right.      And what is -- what is

15           that?

16                     A        Jilb26@yahoo.

17                     Q        Yahoo e-mail?

18                     A        Yes.

19                     Q        So you -- you would use your personal

20           e-mail account from your -- from your work

21           computer?

22                     A        Right.




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1                       Q       Okay.    And so you would just log-in

2            as you normally would through Yahoo?

3                       A       Correct.

4                       Q       And what did you use your e-mail for

5            with respect to work?

6                       A       I did not.

7                       Q       Okay.    So you didn't send any work

8            e-mails?

9                       A       No.

10                      Q       And so -- but any e-mails that you

11           sent during the workday, you would just use your

12           Yahoo account?

13                      A       Correct.

14                      Q       So in all of the years that you were

15           there, you never had the -- you never had to e-mail

16           anyone at all about work?

17                      A       Maybe a time sheet issue or, you

18           know, or pay -- or, you know, "Hey, can you tell me

19           when I'm supposed to go for an insurance checkup,"

20           or, "reinstate insurance."            Other than that, that's

21           it.

22                      Q       But even that, you would just use the




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1            Yahoo e-mail?

2                       A        Correct.

3                       Q        So as you sit here, you don't recall

4            ever sitting down at your work computer and sending

5            an e-mail from a work e-mail account?

6                       A        I did not, not that I recall.

7                       Q        Okay.    Do you know -- do you know

8            whether you had a work e-mail account that you

9            could use?

10                      A        Yes.    It was through the Coffee

11           County.        I don't remember what it was called, but

12           yes.

13                      Q        Do you recall that it was an Outlook

14           account?

15                      A        I do not remember.

16                      Q        When you left the Coffee County

17           Election Office, did you delete any e-mails?

18                      A        No.

19                      Q        Did you delete anything from your

20           work computer?

21                      A        No.

22                      Q        When you went back to the office to




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1            collect your belongings, did you log into your work

2            computer?

3                      A        No.

4                      Q        When you left the office, did you

5            take anything with you other than your own personal

6            belongings?

7                      A        No.

8                      Q        Did you see Ms. Hampton take anything

9            other than her personal belongings?

10                     A        I did not.

11                     Q        Did you see her log into her

12           computer?

13                     A        I do not remember.

14                     Q        Do you know if she did?

15                     A        I have no clue.

16                     Q        Do you know if she took anything

17           beyond her personal belongings?

18                     A        I do not.

19                     Q        At any point after January 7 of 2021,

20           did you ever see anyone from Dominion come in to

21           access any of the voting equipment?

22                     A        After -- do what now?




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1                      Q        To access any of the voting

2            equipment?

3                      A        After what?

4                      Q        After the -- when that team came in

5            on January 7 of 2021, did the Dominion tech that

6            worked with you guys, or anyone else from Dominion,

7            ever come in to do anything with the voting

8            equipment in the office?

9                      A        I do not remember.

10                     Q        Okay.    And the Dominion tech that you

11           guys worked with, was his name James?

12                     A        Yes.

13                     Q        Okay.

14                     A        Yes.    Yes.    Yes.    Okay.     I couldn't

15           remember his name.         Yes.

16                     Q        Do you remember his last name?

17                     A        He was not from here, he's from

18           Haiti -- Haiti.

19                     Q        Oh, Haiti.      Okay.

20                              You don't remember his last name?

21                     A        I do not.

22                     Q        Okay.    And so, for example, after




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1            that team came in on January 7th, did you ever see

2            James back in the office?

3                      A        Not that I remember, no.

4                      Q        Okay.    Because you were -- you were

5            still there for almost two full months, you don't

6            remember him in the office at all?

7                      A        I don't remember.         I mean, I don't.

8                      Q        How often did James typically come

9            into the office when you were there?

10                     A        Just during elections.

11                     Q        So he -- he wasn't around if there

12           was no election?

13                     A        No.

14                     Q        Okay.    There was an election on --

15           the senate runoff was January 5th, 2021.                 Do you

16           remember that?

17                     A        Yes.

18                     Q        And James was around to help with

19           that, right?

20                     A        I honestly don't remember if it was

21           James or if it was somebody else.              I do not

22           remember who.




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1                       Q       There was a Dominion tech who came in

2            to help?

3                       A       Yes.

4                       Q       There was a Dominion tech, for

5            example, who came in and helped set up the -- the

6            voting equipment?

7                       A       Yes.

8                       Q       And so was the Dominion tech there on

9            January 6th to help break all the equipment down

10           and put it away?

11                      A       Was that election night?

12                      Q       That was the day after the election.

13                      A       I do not remember.

14                      Q       Okay.     When equipment was set up for

15           an election on election day, when would it

16           typically be taken down?

17                      A       That same night.

18                      Q       Okay.     So it wouldn't sit overnight?

19                      A       No.

20                      Q       And so the Dominion tech would help

21           with sort of taking it down?

22                      A       No.     It -- that was -- goes back to




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1            whoever they hired to go and set up the equipment

2            through the County on election days, you know,

3            actual election date.

4                      Q        But I thought you said the Dominion

5            tech would take the touchscreens out of the vault

6            for elections.

7                      A        To set them to do L&A, yes, correct.

8            And then he would put them back in the case and

9            then whoever the County hired --

10                     Q        Okay.    So let me make sure I have

11           this right then.        For an election, the Dominion

12           tech comes in before the election, pulls the voting

13           equipment out of the vault and does logic and

14           accuracy testing?

15                     A        Correct.

16                     Q        And was that typically James for you?

17                     A        We -- like, I mean I only did one

18           election, so yes.

19                     Q        Okay.

20                     A        You know, one election cycle year,

21           whatever you want to call it.

22                     Q        Okay.    So the Dominion tech would do




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1            the logic and accuracy testing.              Would the Dominion

2            tech do that on all of the touchscreens?

3                      A        Yes.

4                      Q        There were some touchscreens that you

5            guys never used that just stayed in the vault and

6            you didn't need them, right?

7                      A        Correct.

8                      Q        And there's a pretty good number of

9            those that you just never used, right?

10                     A        I honestly don't even know how many's

11           back there.

12                     Q        Did he do the logic and accuracy

13           testing only on the equipment that's going to be

14           used in the election?

15                     A        Correct.

16                     Q        Okay.     And so he does logic and

17           accuracy testing.          Does he then put the equipment

18           back in the vault?

19                     A        Correct.

20                     Q        And so then someone -- like, was it

21           Mandy -- was the name -- who would take the

22           equipment to the precincts?




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1                      A        Yes.

2                      Q        Mandy would then come in later, take

3            that equipment out of the vault, put it on this

4            trailer and take it to the precincts?

5                      A        Correct.

6                      Q        And then Mandy would bring it back

7            and put it back in the vault?

8                      A        Correct.

9                      Q        And for early voting, did the

10           Dominion tech move the voting equipment out of the

11           vault into the early voting room?

12                     A        Correct.

13                     Q        Did the Dominion tech take that

14           equipment back into the vault?

15                     A        Correct, just advanced voting.

16                     Q        And so you're saying -- and the

17           advanced voting would be shut down typically a few

18           days before the election day, right, the Friday

19           before?

20                     A        The Friday before, yes.

21                     Q        And so that equipment typically would

22           be taken down the night of the Friday before




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1            election day by Dominion tech and put back into the

2            vault?

3                      A        No.     It stayed up because you had to

4            run tallies off of it for election day.

5                      Q        So when was the early voting

6            equipment taken down?

7                      A        Election night.

8                      Q        Got it.

9                               So election night you're taking the

10           early voting equipment, putting it back into the

11           vault, and all of the precinct equipment is also

12           going into the vault?

13                     A        Right.     It took ample time for them

14           to come to that -- the most -- the advanced voting

15           stuff was already up and put up before any of that

16           other stuff started coming through the door.

17                     Q        And the Dominion tech would be the

18           one to take the early voting equipment and put it

19           back in the vault?

20                     A        Yes.

21                     Q        Okay.     Was anything done with the

22           voting equipment on the day after the election or




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1            it's all back in the vault?

2                      A        It's all put up.

3                      Q        Do you recall a Dominion tech in the

4            Elections Office on January 7 of 2021, when that

5            team was there?

6                      A        I do not.

7                      Q        You don't recall one way or the other

8            or your recollection is that a Dominion tech was

9            not there?

10                     A        I do not recall one way or another.

11                     Q        Have you ever heard the name John

12           Terry?

13                     A        No.

14                     Q        Do you remember a democratic

15           representative who wore a cowboy hat?

16                     A        I do not.

17                     Q        All right.      Let me hand you Exhibit

18           17.

19                         (Ridlehoover Deposition Exhibit Number 17

20                         marked for identification.)

21           BY MR. CROSS:

22                     Q        And you'll see page numbers in the




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1            bottom left.

2                       A       Yes.

3                       Q       Flip to page 3 if you would --

4            actually flip to page -- flip to page 6.                 Sorry,

5            they're not in order.          If you look at page 6,

6            you'll see at the top initials "CL" and then

7            "Cathy"?

8                       A       Uh-huh.

9                       Q       Yes?

10                      A       Yes.    Sorry.

11                      Q       And these are text messages between

12           Misty Hampton and Cathy Latham.              Do you understand

13           that?

14                      A       Yes.

15                      Q       And at the top of -- you can see

16           there's a text message that Ms. Latham sends to

17           Misty Hampton on January 7, 2021, at 9:46 a.m.

18           "Team left Atlanta at 8.            5 members led by Paul

19           Maggio."       There's a phone number.         And, "Scott is

20           flying in."       Ms. Hampton responds, "Yay."

21                              Do you see that?

22                      A       Yes.




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1                      Q        Okay.    Does this refresh your

2            recollection at all that Paul Maggio was in the

3            office on January 7 of 2021?

4                      A        It does not.

5                      Q        And you see Ms. Hampton writes, "What

6            is Scott's last name?"          Ms. Latham responds,

7            "Hall."

8                               Do you see that?

9                      A        Yes.

10                     Q        Does that refresh your recollection

11           that Scott Hall was there that day?

12                     A        It does not.

13                     Q        Okay.    And then Ms. Hampton writes,

14           "Is somebody coming at 10?            To vote review panel."

15                              Do you see that?

16                     A        Yes.

17                     Q        Do you recall that there was a voter

18           review panel in the office on January 7th?

19                     A        I do not.

20                     Q        You just don't recall one way or the

21           other?

22                     A        I don't recall.




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1                      Q        And then if you flip now to page 3,

2            this picks up where we left off.              And so we're

3            still on January 7th.          So the bottom of the text

4            starts on January 6, it says, "Okay.                How was it

5            today?    Finished?"       You'll see that picking up on

6            page 3.

7                      A        Yes.

8                      Q        So we're still on the same thread on

9            January 7th.       Cathleen Latham says, "How is it

10           today?    Finished?"       And Ms. Hampton says, "All were

11           very simple."       Ms. Scott -- Ms. Latham writes,

12           "Good.    Scott has landed.         The rest of the team is

13           almost to Douglas."         Then Ms. Hampton writes,

14           "Okay.    The democratic man is still here."

15                              Do you know who the democratic man

16           is?

17                     A        I do not.

18                              MR. DELK:      Object to the form.

19           BY MR. CROSS:

20                     Q        And you don't -- you don't have any

21           recollection of a review panel that day?

22                     A        I do not remember.




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1                      Q        And you don't recall someone being in

2            the office that day wearing a cowboy hat?

3                      A        I don't remember.

4                      Q        And you don't -- you don't recall the

5            name John Terry at all?

6                      A        I do not.

7                      Q        Is there anyone else you remember

8            being in the Coffee County Election Office at any

9            point on January 7 of 2021 that we have not talked

10           about?

11                     A        I have not.

12                     Q        Did anyone from the public happen to

13           come in that day?

14                     A        I don't remember.

15                     Q        Anyone from the Board other than Eric

16           Chaney?

17                              MR. DELK:      Object to the form.

18                              THE WITNESS:       I don't besides Cathy.

19                              MR. DELK:      Object to the form.

20           BY MR. CROSS:

21                     Q        So you don't recall, like, a voter

22           coming in with an issue?




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1                      A        I do not.

2                      Q        Do you recall anyone taking notes

3            that day?

4                      A        I do not.

5                      Q        Did you speak with Ed Voyles in the

6            office that day?

7                      A        I do not remember.

8                      Q        But you recall he was there?

9                               MR. DELK:      Object to the form.

10                              When you say that day --

11                              MR. CROSS:      January 7th, 2021.

12                              THE WITNESS:       I do not -- no, not

13           that I recall.       I do not remember.

14           BY MR. CROSS:

15                     Q        Mr. Voyles, is it fair to say, he's a

16           social chatty guy?

17                     A        Yes.

18                     Q        Okay.    If he was in the office that

19           day, you likely would have chatted with him, you

20           wouldn't have ignored him?

21                     A        Yes, correct.

22                              MR. DELK:      Object to the form.




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1            BY MR. CROSS:

2                      Q        And you just don't recall one way or

3            the other whether he was there?

4                      A        I do not.

5                      Q        Do you recall ever seeing anyone on

6            the phone on January 7, 2021, in the Elections

7            Office or in the parking lot?

8                      A        I do not.

9                      Q        Do you recall pizza -- do you recall

10           having pizza for lunch that day?

11                     A        I do not.

12                     Q        Do you recall that Scott Hall bought

13           pizza for folks in the office that day?

14                     A        I do not remember.

15                     Q        All right.      Did anyone at any point,

16           either on the 7th of January 2021 or after, ask you

17           not to say anything to anyone about what happened?

18                     A        No, they did not.

19                     Q        Have you ever used an app called

20           Signal?

21                     A        Do what now?

22                     Q        Have you ever used an app called




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1            Signal?

2                      A        No.

3                      Q        Have you ever used Snapchat?

4                      A        Yes.

5                      Q        Have you ever used that with respect

6            to any -- anything to do with Coffee County

7            Elections?

8                      A        No.

9                      Q        Have you ever used Snapchat to

10           communicate with Misty Hampton?

11                     A        No.    Snapchat's really not

12           communicating.

13                     Q        Well, have you ever sent anything or

14           received anything --

15                     A        Send a Snap, yes.

16                     Q        To Misty Hampton?

17                     A        Yes.

18                     Q        Related to your work at all?

19                     A        No.

20                     Q        Related to Coffee County Elections?

21                     A        No.

22                     Q        Related to any events involving the




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1             office?

2                        A        No.

3                        Q        What about with Mr. Chaney, Eric

4             Chaney?

5                        A        No.

6                        Q        Did anyone from Dominion, while you

7             were in the office, ever conduct any kind of

8             inspection or audit of the voting equipment?

9                        A        Not that I know.

10                       Q        Did anyone from Dominion, did you

11            ever see them go into Ms. Hampton's office?

12                       A        Yes.

13                       Q        Did you ever see them go into the

14            GEMS room?

15                       A        Yes.

16                       Q        And what did you see them do in the

17            GEMS room?

18                       A        I didn't see them do anything.                I

19            know they went in there, but I have no idea what

20            they did.

21                       Q        Are you aware of anyone ever

22            connecting any of the equipment in the GEMS room,




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1            connecting that equipment to the internet?

2                      A        I have not.

3                      Q        There was Wi-Fi in the Coffee County

4            Elections Office, right?

5                      A        Yes.

6                      Q        And did you connect to that like with

7            your phone or anything?

8                      A        No.

9                      Q        Who typically used the Wi-Fi?

10                     A        It was just --

11                              MR. DELK:      Object to the form.

12                              THE WITNESS:       -- just our computers.

13           BY MR. CROSS:

14                     Q        Your -- your work computer was also

15           on?

16                     A        Yeah, had -- you don't need E-net.

17                     Q        Does your work computer work through

18           the Wi-Fi?

19                     A        Yes.

20                     Q        Okay.    Was there a log-in or a

21           password to get on the Wi-Fi?

22                     A        There was, but it was already set up.




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1                      Q        On the computer?

2                      A        Yes.

3                      Q        Did you ever connect any devices to

4            the Wi-Fi other than your computer?

5                      A        No.

6                      Q        Do you know if anyone else did?

7                      A        I do not.

8                               MR. DELK:      Object to the form.

9            BY MR. CROSS:?

10                     Q        All right.      Let me show you Exhibit

11           18, please.

12                         (Ridlehoover Deposition Exhibit Number 18

13                         marked for identification.)

14           BY MR. CROSS:

15                     Q        So, Ms. Ridlehoover, this is an

16           article that was published by a writer named Jose

17           Pagliery at the Daily Beast.

18                              Have you ever heard his name before?

19                     A        No.

20                     Q        Do you recall him reaching out to you

21           shortly before this article came out?

22                     A        I do not.




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1                       Q       Okay.    Flip to page 6 if you would.

2            Actually let's start with page 5, just to give you

3            a little more context.

4                               Do you see here, if you come down to

5            the third paragraph on the bottom, do you see where

6            it refers to, "Team left Atlanta at 8.                5 members

7            led by Paul Maggio"?

8                       A       Yes.

9                       Q       And do you see this is referring to

10           that same text message from Ms. Latham to Misty

11           Hampton that we looked at earlier, right?

12                      A       Yes.

13                      Q       Okay.    And then Ms. Latham indicates,

14           "I trust you all!"         And then below that, the

15           article reports, "An hour later, a small

16           single-propeller plane flying in from

17           DeKalb-Peachtree Airport appeared on the horizon

18           just north of the small city, according to flight

19           records obtained by the Daily Beast.                It landed at

20           11:06 a.m. at the Douglas Municipal Gene Chambers

21           Airport.       A short time later, Latham checked in on

22           Hampton."




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1                               Do you see that?

2                      A        Yes.

3                      Q        Do you recall hearing that the team

4            that you saw in the office on January 7th, 2021,

5            that at least some of them had flown in?

6                      A        I did not.

7                      Q        If you would turn to the top, you'll

8            see Scott has -- it indicates here, "Latham wrote

9            to Ms. Hampton, Scott has landed.              The rest of the

10           team is almost to Douglas."

11                              Do you see that?

12                     A        Yes.

13                     Q        Then the article goes on, "Hall and

14           the team made their way to the windowless Elections

15           and Registration building.            Hampton would later

16           tell the Daily Beast that Chaney and Latham were

17           there.    And she recalled telling her junior

18           assistant, Jil Ridlehoover, to stay quiet."

19                              Do you see that?

20                     A        Yes.

21                     Q        And, again, you -- you don't dispute

22           that Eric Chaney and Cathy Latham were in the




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1            office on January 7, 2021, right?

2                               MR. DELK:      Object to the form.          Asked

3            and answered.

4                               THE WITNESS:       Do what?

5                               MR. DELK:      You can answer.

6                               THE WITNESS:       I honestly do not

7            remember Eric Chaney being in the office.

8            BY MR. CROSS:

9                      Q        You just don't recall one way or the

10           other?

11                     A        I don't recall one way or the other.

12                     Q        Okay.    And do you recall Ms. Hampton

13           telling you when these people were there to stay

14           quiet the whole time?

15                     A        Yes.

16                     Q        Okay.    And so Ms. Hampton reports

17           here, "I told you, you sit over there, you don't

18           say anything.       You don't know what's going on."

19                              Do you recall her saying that to you?

20                     A        Correct.

21                     Q        Okay.    And did you -- did you ask her

22           why?




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1                      A        No, I did not.

2                      Q        Do you recall anything that you said

3            to Ms. Hampton after she told you not to say

4            anything?

5                      A        No, I don't.

6                      Q        Okay.    Did the people being there

7            that you -- that we've talked about particularly

8            after Ms. Hampton told you to be quiet, did it

9            raise any concerns for you, any red flags?                     Just

10           yes or no.

11                     A        Yes, it did.

12                     Q        Did you ever speak with anyone --

13           strike that.

14                              Did you ever speak with anyone about

15           this team coming in on January 7th of 2021, besides

16           the conversation where Ms. Hampton asked you to be

17           quiet?

18                     A        No.

19                     Q        So you recall ever telling anyone at

20           all that these people had come into the office?

21                     A        No.

22                     Q        So not a family member?           Not law




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1             enforcement?        Not anyone?

2                        A        No.

3                                 MR. DELK:       Objection.        Asked and

4             answered.

5             BY MR. CROSS:

6                        Q        Do you know the name Mike Lindell?

7                        A        No.

8                        Q        Do you know the company called My

9             Pillow?

10                       A        What now?

11                       Q        Do you know the company My Pillow?

12            They sell pillows.

13                       A        No.

14                       Q        Never heard of them?

15                       A        No.

16                       Q        Do you know whether someone named

17            Mike Lindell was ever in the Coffee County

18            Elections Office?

19                       A        I do not.

20                       Q        Were you aware that he flew into

21            Douglas, Georgia on February 25th of 2021?

22                       A        I am not.




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1                      Q        That's not something you ever heard

2            or talked about with anyone?

3                      A        No.

4                      Q        So when you went -- when you went

5            back to the office on February 25th, after your --

6            the meeting with the board where you were let go,

7            do you recall seeing anyone in that office besides

8            Ms. Hampton and the sheriff's deputy who went with

9            you?

10                     A        Princess came over there for us to

11           sign because -- yeah, Princess Porter came over

12           there for us to sign -- not to sign, but to make

13           sure she got our keys and all that.

14                     Q        Who was that?

15                     A        She is -- I don't know what she is.

16           She works at the courthouse in the Commissioners

17           Office.       I don't know what her title is.

18                     Q        Did she walk in with you or she came

19           later there?

20                     A        I don't remember.

21                     Q        She came in, what was the

22           conversation with her?          What do you remember?




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                                                                      Page 169

1                      A        There wasn't one.

2                      Q        She came in and said, "I've got to

3            take all your" --

4                      A        Keys and -- yeah.

5                      Q        Okay.    And then she left, or was she

6            still there when you left?

7                      A        I think I left -- I think we left

8            first and she was still there to my guess.

9                      Q        So on February 25th, at some point

10           during the day, you, Ms. Hampton, Ms. Porter, and

11           this Sheriff's Deputy Cole were in the office?

12                     A        Correct.

13                     Q        Was there anyone else in the office

14           who you saw that day?

15                     A        Not that I remember.

16                     Q        Okay.    So we know that Mr. Lindell

17           flew into Douglas on the same day that you were let

18           go, but you don't know one way or the other whether

19           he was ever in that office?

20                     A        I do not.

21                     Q        Have you ever heard whether he has

22           ever spoken with anyone on the Board?




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1                      A        I have not.

2                      Q        Mr. Chaney has never mentioned

3            Mr. Lindell?

4                      A        No.

5                      Q        Did anyone who was there on

6            January 7th, 2021 give you anything?

7                      A        No.

8                      Q        Did they hand you anything?

9                      A        No.

10                     Q        Did they ask you to take anything or

11           hide anything?

12                     A        No.

13                     Q        Did they offer you any money?

14                     A        No.

15                     Q        Offer you anything of value?

16                     A        No.

17                     Q        Did you know if anyone offered

18           Ms. Hampton anything of value?

19                              MR. DELK:      Object to the form.

20                              THE WITNESS:       I do not.      You would

21           have to ask her.

22




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                                                                      Page 171

1            BY MR. CROSS:

2                      Q        Did you ever see anyone hand anything

3            to Ms. Hampton in the office that day?

4                      A        No.

5                      Q        Are you familiar with the First

6            Baptist Church of Douglas?

7                      A        Yes.

8                      Q        Is that -- is that a church you

9            attend?

10                     A        No.

11                     Q        Have you ever been to that church?

12                     A        My son went to preschool there.

13                     Q        Have you been to that church at any

14           point in 2021?

15                     A        No.

16                     Q        And that's -- that's on North Gaskin

17           Avenue, right?       Does that sound right?

18                     A        I have no clue.

19                     Q        Okay.    And are you aware that Cathy

20           Latham is the secretary of that church?

21                     A        No, I was not.

22                     Q        Were you aware that Matthew




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                                                                      Page 172

1            McCullough who's on the board is the CFO of that

2            church?

3                      A        No, I was not.

4                      Q        Were you aware that a scanner was

5            taken from that church to scan ballots in the

6            Coffee County Election Office in January of 2021?

7                      A        No, I was not.

8                      Q        No one asked you to go pick that

9            scanner up?

10                     A        No.

11                     Q        No one asked you to go take that

12           scanner back?

13                     A        No.

14                     Q        Do you know someone named Eddie

15           Chaney?

16                     A        I do not.

17                     Q        He works at -- well, do you know

18           David's Auto Sales?

19                     A        I know where it's at, but that's it.

20                     Q        Is that also owned by the Chaney

21           family?

22                     A        No, it's not.




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                                                                      Page 173

1                      Q        So you don't know someone named Eddie

2            Chaney who works at -- here and at some point

3            worked at David's Auto Sales?

4                      A        I do not.

5                      Q        Never heard Eric Chaney mention him?

6                      A        I have not.

7                      Q        Okay.    Did you see anyone at the

8            Coffee County Elections Office on January 7th, 2021

9            by the name of Eddie?

10                     A        I did not.

11                     Q        Did you ever hear that anyone named

12           Eddie was going to be at the office or in the

13           parking lot that day?

14                     A        I did not.

15                     Q        Did you ever hear that anyone named

16           Eddie was going to drive anyone to or from the

17           office that day?

18                     A        I have not.

19                     Q        Do you know where Eric Chaney lives?

20                     A        Yes.

21                     Q        Where is that?

22                     A        Mallard Pointe.




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1                      Q        I'm sorry, where is Mallard Pointe?

2                      A        Well, you go out 158 and turn

3            where -- turn by the church and he lives just in a

4            little neighborhood back in there.

5                      Q        Have you ever been to his home?

6                      A        No.

7                      Q        How long has he lived there?

8                      A        I do not know.

9                      Q        Is it fair to say more than a month?

10                     A        Yeah.

11                              MR. DELK:      Object to the form.

12           BY MR. CROSS:

13                     Q        More than six months?

14                     A        I'm not sure.

15                     Q        More than two months?

16                     A        I have no clue.

17                     Q        Okay.    Do you know where he lived

18           before that?

19                     A        I did not.

20                     Q        Do you ever socialize with Eric

21           Chaney?

22                     A        No, not outside the office.




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1                      Q        Has Mr. Chaney ever told you to be

2            quiet about what you saw in the office on

3            January 7th?

4                      A        No, he has not.

5                      Q        And your testimony is you -- the two

6            of you have never spoken about it?

7                      A        No.

8                      Q        Did you know he resigned from the

9            Board on Friday?

10                     A        No, I did not.

11                     Q        You have not spoken to him about

12           that?

13                     A        No, I have not.

14                     Q        Sorry, I can't remember if I asked

15           you this before.         With respect to the Coffee County

16           Board letting you go, did you ever consider whether

17           the real reason for that had anything to do with

18           the events of January 7 and this team that came in?

19                              MR. DELK:      Object to the form.

20                              THE WITNESS:       Honestly, I've never

21           thought about it.

22




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                                                                      Page 176

1            BY MR. CROSS:

2                      Q        So the Coffee County Board forced you

3            to resign for something that you didn't do and you

4            never thought about why they did that?

5                               MR. DELK:      Object to the form.          Asked

6            and answered.

7                               THE WITNESS:       I didn't --

8                               MR. DELK:      You can answer it subject

9            to my objection.

10                              THE WITNESS:       Honestly no.

11           BY MR. CROSS:

12                     Q        Do you have -- is there any

13           explanation that comes to mind for why Misty

14           Hampton and Cathy Latham were talking about needing

15           to get a borrowed scanner back somewhere on or

16           around January 7th, 2021?

17                              MR. DELK:      Object to the form.

18                              THE WITNESS:       You would have to ask

19           them.

20           BY MR. CROSS:

21                     Q        You don't recall seeing a scanner in

22           the office that day?          You just don't remember one




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1            way or the other?

2                      A        I do not.

3                      Q        So you don't -- nothing comes to mind

4            as to why they would have been talking about a

5            borrowed scanner?

6                      A        No.

7                      Q        Oh, I'm sorry.

8                               Did the Board meet in January of

9            2021?

10                     A        Yes.    They would have had to -- they

11           met the first -- they met the first week of every

12           month.

13                     Q        You don't have any reason, as you sit

14           here, to think they did not have the regular

15           meeting in January, right?

16                     A        I do not.

17                     Q        Did -- do you have any reason to

18           think they didn't meet in February?

19                     A        I do not remember, but I mean, like I

20           said, they met the first week of every month.

21                     Q        Do you have any -- is there any

22           explanation that comes to mind why there would be




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1            no board meeting minutes from February of 2021?

2                      A        No.

3                               MR. CROSS:      I don't have any further

4            questions for you, Ms. Ridlehoover.               I appreciate

5            your time today.

6                               Bruce, do you have questions?

7                               MR. BROWN:      I do not have any

8            questions.

9                               MR. PICO PRATS:         I'll have very few

10           questions.

11                EXAMINATION BY COUNSEL FOR STATE OF GEORGIA

12           BY MR. PICO PRATS:

13                     Q        Ms. Ridlehoover, I'm Javier Pico

14           Prats, representing the State of Georgia, the State

15           Defendants in this case.

16                              MR. CROSS:      Felicia, can you hear

17           Javier okay?

18                              COURT REPORTER:         I can hear him fine.

19                              MR. CROSS:      Okay.

20           BY MR. PICO PRATS:

21                     Q        Do you know who the plaintiffs are in

22           the case that are sitting before you now?




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1                      A        I do not.

2                      Q        And I'm just going to go through a

3            few people that are a part of this Zoom.

4                               Do you know who Donna Curling is?

5                      A        I do not.

6                      Q        Do you know who Marilyn Marks is?

7                      A        I do not.

8                      Q        Have you ever met or did you know who

9            David Cross was before?

10                     A        Who?

11                     Q        David Cross.

12                     A        I did not, no.

13                     Q        Adam Sparks?

14                     A        No.

15                     Q        Russ Abney?

16                     A        No.

17                     Q        Okay.

18                              MR. BROWN:      I have a -- I just have a

19           question.      This is Bruce Brown.

20                              Are these being asked on behalf of

21           Defendant State Election Board or just the

22           Secretary of State or both?




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1                                 MR. PICO PRATS:           These are being

2             asked in -- in terms of the State defendants

3             generally.

4                                 MR. BROWN:        Both?     You're asking

5             questions about the plaintiffs on behalf of the

6             State Election Board.            Is that right?

7                                 MR. PICO PRATS:           Just the State

8             defendants.

9                                 MR. BROWN:        Which includes which?

10                                MR. PICO PRATS:           That -- that

11            encompasses both.

12                                MR. BROWN:        Okay.     Thank you very

13            much.

14                                MR. PICO PRATS:           That's all the

15            questions I have.          Thank you.

16                                THE WITNESS:         You're welcome.

17                                VIDEOGRAPHER:         We're done?

18                                MR. CROSS:        We're done.        We can go

19            off the record.

20                                Thank you, Ms. Ridlehoover.

21                                THE WITNESS:         Thank you.

22                                VIDEOGRAPHER:         We are going off the




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1             record at 12:55.

2                                 MR. DELK:       We'll reserve signature.

3                           (Whereupon, at 12:55 p.m., the

4                           video-recorded deposition of JIL

5                           RIDLEHOOVER was concluded; signature

6                           reserved.)

7

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1                           CERTIFICATE OF NOTARY PUBLIC

2                   I, FELICIA A. NEWLAND, CSR, the officer before

3           whom a partial segment of the foregoing videotaped

4           deposition was taken, do hereby certify that the

5           witness whose testimony appears in the foregoing

6           deposition was not duly sworn by me, but by

7           LeShaundra Byrd; that the testimony of said witness

8           was taken by LeShaundra Byrd and me in stenotype and

9           thereafter reduced to typewriting under my

10          direction; that said deposition of the partial

11          segment wherein LeShaundra Byrd was present (pages 6

12          through 45) in which I transcribed and the partial

13          segment wherein I was present is a true record of

14          the testimony given by said witness; that I am

15          neither counsel for, related to, nor employed by any

16          of the parties to the action in which this

17          deposition was taken; and, further, that I am not a

18          relative or employee of any counsel or attorney

19          employed by the parties hereto, nor financially or

20          otherwise interested in the outcome of this action.

21                                               <%14754,Signature%>

22                                           FELICIA A. NEWLAND, CSR




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1      Stephen Delk, Esquire

2      sdelk@hallboothsmith.com

3                                     August 22, 2022

4      RE:       Curling, Donna       v. Raffensperger, Brad

5            8/16/2022, Jil Riddlehoover (#5375770)

6            The above-referenced transcript is available for

7      review.

8            Within the applicable timeframe, the witness should

9      read the testimony to verify its accuracy. If there are

10     any changes, the witness should note those with the

11     reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13     Deponent and Errata and return to the deposing attorney.

14     Copies should be sent to all counsel, and to Veritext at

15     cs-midatlantic@veritext.com

16

17       Return completed errata within 30 days from

18    receipt of testimony.

19        If the witness fails to do so within the time

20    allotted, the transcript may be used as if signed.

21

22                         Yours,

23                        Veritext Legal Solutions

24

25

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1       Curling, Donna        v. Raffensperger, Brad
2       Jil Riddlehoover (#5375770)
3                               E R R A T A         S H E E T
4       PAGE_____ LINE_____ CHANGE________________________
5       __________________________________________________
6       REASON____________________________________________
7       PAGE_____ LINE_____ CHANGE________________________
8       __________________________________________________
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20      __________________________________________________
21      REASON____________________________________________
22
23      ________________________________                   _______________
24      Jil Riddlehoover                                                    Date
25

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1      Curling, Donna       v. Raffensperger, Brad

2      Jil Riddlehoover (#5375770)

3                         ACKNOWLEDGEMENT OF DEPONENT

4           I, Jil Riddlehoover, do hereby declare that I

5      have read the foregoing transcript, I have made any

6      corrections, additions, or changes I deemed necessary as

7      noted above to be appended hereto, and that the same is

8      a true, correct and complete transcript of the testimony

9      given by me.

10

11     ______________________________               ________________

12     Jil Riddlehoover                                     Date

13     *If notary is required

14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                            ______ DAY OF ________________, 20___.

16

17

18                            __________________________

19                            NOTARY PUBLIC

20

21

22

23

24

25

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                 Federal Rules of Civil Procedure

                                  Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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     COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
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amended, with respect to Personally Identifiable
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